17-10184-scc      Doc 281      Filed 08/15/17 Entered 08/15/17 18:56:19               Main Document
                                             Pg 1 of 60


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------- x
                                 :
In re:                           :                      Chapter 11
                                 :
TOISA LIMITED, et al.,           :                      Case No. 17-10184 (SCC)
                                 :
                  Debtors.       :1
                                                        (Jointly Administered)
                                 :
-------------------------------- x

                    JOINT PLAN OF REORGANIZATION FOR
                TOISA LIMITED AND CERTAIN OF ITS AFFILIATES
              PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

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 Dated: August 15, 2017
        New York, New York




 1
     The Debtors in these chapter 11 cases, are as follows: Trade Prosperity, Inc.; Toisa Limited; United
     Courage, Inc.; Trade Vision, Inc.; United Journey, Inc.; United Kalavryta, Inc.; Trade Sky, Inc.;
     Trade Industrial Development Corporation; United Honor, Inc.; Trade Will, Inc.; United Leadership
     Inc.; United Seas, Inc.; United Dynamic, Inc.; United Emblem, Inc.; United Ideal Inc.; Trade Unity,
     Inc.; Trade Quest, Inc.; Trade Spirit, Inc.; Trade Resource, Inc.; United Ambassador, Inc.;
     Edgewater Offshore Shipping, Ltd.; United Banner, Inc.; Toisa Horizon, Inc.; and Trade and
     Transport Inc.
17-10184-scc               Doc 281            Filed 08/15/17 Entered 08/15/17 18:56:19                                        Main Document
                                                            Pg 2 of 60



                                                       TABLE OF CONTENTS

                                                                                                                                                 Page
 INTRODUCTION ....................................................................................................................................... 1
 ARTICLE I
 DEFINED TERMS AND RULES OF INTERPRETATION .................................................................... 1
   1.1     Administrative Claim .......................................................................................................... 1
   1.2     Administrative Claims Bar Date ....................................................................................... 1
   1.4     Affiliate .................................................................................................................................. 1
   1.5     Allowed ................................................................................................................................. 1
   1.6     Allowed Claim ..................................................................................................................... 2
   1.7     Amended and Restated BNP Credit Facility ................................................................... 2
   1.8     Amended and Restated Citi Offshore Credit Facility .................................................... 2
   1.9     Amended and Restated Citi Tanker Credit Facility ....................................................... 2
   1.10    Amended and Restated Citizens I Credit Facility ........................................................... 2
   1.11    Amended and Restated Citizens II Credit Facility ......................................................... 2
   1.12    Amended and Restated Commerzbank I Credit Facility ............................................... 3
   1.13    Amended and Restated Commerzbank II Credit Facility ............................................. 3
   1.14    Amended and Restated Commonwealth Bank of Australia Credit Facility ............... 3
   1.15    Amended and Restated Credit Agricole Offshore Credit Facility................................ 3
   1.16    Amended and Restated Credit Agricole Tanker Credit Facility ................................... 3
   1.17    Amended and Restated Credit Facilities .......................................................................... 4
   1.18    Amended and Restated Danish Ship Bulker Credit Facility ......................................... 4
   1.19    Amended and Restated Danish Ship Offshore Credit Facility. .................................... 4
   1.20    Amended and Restated Danish Ship Tanker Credit Facility ........................................ 4
   1.21    Amended and Restated DNB Offshore Credit Facility .................................................. 4
   1.22    Amended and Restated DNB Tanker Credit Facility ..................................................... 4
   1.23    Amended and Restated DVB Credit Facility. .................................................................. 4
   1.24    Amended and Restated ING Bulker Credit Facility ....................................................... 5
   1.25    Amended and Restated ING Offshore Credit Facility .................................................. 5
   1.26    Amended and Restated NBG Credit Facility ................................................................... 5
   1.27    Amended and Restated Offshore Facilities. ..................................................................... 5
   1.28    Amended and Restated Oceangoing Facilities ................................................................ 5
   1.29    Amended and Restated Wells Fargo Credit Facility ...................................................... 5
   1.30    Avoidance Action ................................................................................................................ 6
   1.31    Ballot ...................................................................................................................................... 6
   1.32    Bankruptcy Code ................................................................................................................. 6
   1.33    Bankruptcy Court ................................................................................................................ 6
   1.34    Bankruptcy Rules ................................................................................................................. 6
   1.35    Bar Date ................................................................................................................................. 6
   1.36    BNP Credit Facility Vessels ................................................................................................ 6
   1.37    Business Day ......................................................................................................................... 6
   1.38    Cash........................................................................................................................................ 6
   1.39    Cause of Action .................................................................................................................... 7
   1.40    Chapter 11 Case(s) ............................................................................................................... 7
   1.41    Citi Offshore Facility Vessels. ............................................................................................ 7
   1.42    Citi Tanker Facility Vessels ................................................................................................ 7
   1.43    Citizens I Credit Facility Vessel ......................................................................................... 7
   1.44    Citizens II Credit Facility Vessel ........................................................................................ 7
   1.45    Claim ...................................................................................................................................... 7
   1.46    Claims Objection Deadline ................................................................................................. 7


                                                                             i
17-10184-scc    Doc 281              Filed 08/15/17 Entered 08/15/17 18:56:19                                              Main Document
                                                   Pg 3 of 60


   1.47    Class ....................................................................................................................................... 7
   1.48    Commerzbank I Credit Facility Vessels............................................................................ 7
   1.49    Commerzbank II Credit Facility Vessel ............................................................................ 7
   1.50    Commonwealth Bank of Australia Credit Facility Vessel ............................................. 7
   1.51    Confirmation ........................................................................................................................ 7
   1.52    Confirmation Date ............................................................................................................... 8
   1.53    Confirmation Hearing ......................................................................................................... 8
   1.54    Confirmation Order ............................................................................................................. 8
   1.55    Credit Agricole Offshore Credit Facility Vessels ............................................................ 8
   1.56    Credit Agricole Tanker Credit Facility Vessel ................................................................. 8
   1.57    D&O Liability Insurance Policies ...................................................................................... 8
   1.58    Danish Ship Bulker Credit Facility Vessels ...................................................................... 8
   1.59    Danish Ship Offshore Credit Facility Vessels .................................................................. 8
   1.60    Danish Ship Tanker Credit Facility Vessels ..................................................................... 8
   1.61    Debtors .................................................................................................................................. 8
   1.62    Disclosure Statement ........................................................................................................... 8
   1.63    Disputed Claim .................................................................................................................... 8
   1.64    Distribution Date. ................................................................................................................ 9
   1.65    Distribution Record Date. ................................................................................................... 9
   1.66    DNB Offshore Credit Facility Vessels ............................................................................... 9
   1.67    DNB Tanker Credit Facility Vessels .................................................................................. 9
   1.68    DVB Credit Facility Vessels ................................................................................................ 9
   1.71    Effective Date ........................................................................................................................ 9
   1.72    Entity ...................................................................................................................................... 9
   1.73    Estate(s) ................................................................................................................................. 9
   1.74    Excluded Assets . ................................................................................................................. 9
   1.75    Exculpated Parties ............................................................................................................... 9
   1.76    Executory Contract .............................................................................................................. 9
   1.77    Exhibit .................................................................................................................................... 9
   1.78    Existing BNP Credit Facility ............................................................................................... 9
   1.79    Existing BNP Credit Facility Claims ............................................................................... 10
   1.80    Existing Citi Offshore Credit Facility ............................................................................. 10
   1.81    Existing Citi Offshore Credit Facility Claims ................................................................ 10
   1.82    Existing Citi Tanker Credit Facility. ................................................................................ 10
   1.83    Existing Citi Tanker Credit Facility Claims ................................................................... 10
   1.84    Existing Citizens I Credit Facility. ................................................................................... 10
   1.85    Existing Citizens I Credit Facility Claims ....................................................................... 10
   1.86    Existing Citizens II Credit Facility. .................................................................................. 10
   1.87    Existing Citizens II Credit Facility Claims ..................................................................... 10
   1.88    Existing Commerzbank I Credit Facility ........................................................................ 10
   1.89    Existing Commerzbank I Credit Facility Claims .......................................................... 11
   1.90    Existing Commerzbank II Credit Facility ....................................................................... 11
   1.91    Existing Commerzbank II Credit Facility Claims ......................................................... 11
   1.92    Existing Commonwealth Bank of Australia Credit Facility ........................................ 11
   1.93    Existing Commonwealth Bank of Australia Credit Facility Claims ........................... 11
   1.94    Existing Credit Agricole Offshore Credit Facility. ........................................................ 11
   1.95    Existing Credit Agricole Offshore Credit Facility Claims............................................ 11
   1.96    Existing Credit Agricole Tanker Credit Facility ............................................................ 11
   1.97    Existing Credit Agricole Tanker Credit Facility Claims............................................... 11
   1.98    Existing Danish Ship Bulker Credit Facility. ................................................................. 12
   1.99    Existing Danish Ship Bulker Credit Facility Claims ..................................................... 12
   1.100   Existing Danish Ship Offshore Credit Facility. .............................................................. 12
   1.101   Existing Danish Ship Offshore Credit Facility Claims ................................................. 12


                                                                      ii
17-10184-scc    Doc 281              Filed 08/15/17 Entered 08/15/17 18:56:19                                              Main Document
                                                   Pg 4 of 60


   1.102   Existing Danish Ship Tanker Credit Facility .................................................................. 12
   1.103   Existing Danish Ship Tanker Credit Facility Claims .................................................... 12
   1.104   Existing DNB Offshore Credit Facility ........................................................................... 12
   1.105   Existing DNB Offshore Credit Facility Claims .............................................................. 12
   1.106   Existing DNB Tanker Credit Facility .............................................................................. 12
   1.107   Existing DNB Tanker Credit Facility Claims ................................................................. 13
   1.108   Existing DVB Credit Facility ............................................................................................ 13
   1.109   Existing DVB Credit Facility Claims ............................................................................... 13
   1.110   Existing ING Bulker Credit Facility. ............................................................................... 13
   1.111   Existing ING Bulker Credit Facility Claims ................................................................... 13
   1.112   Existing ING Offshore Credit Facility............................................................................. 13
   1.113   Existing ING Offshore Credit Facility Claims ............................................................... 13
   1.114   Existing NBG Credit Facility. ........................................................................................... 13
   1.115   Existing NBG Credit Facility Claims............................................................................... 13
   1.116   Existing Wells Fargo Credit Facility ............................................................................... 13
   1.117   Existing Wells Fargo Credit Facility Claims .................................................................. 14
   1.118   Existing Management Agreements ................................................................................. 14
   1.119   Final Order .......................................................................................................................... 14
   1.120   G550 Airplane Credit Facility .......................................................................................... 14
   1.122   General Unsecured Claim ................................................................................................. 14
   1.123   Holder .................................................................................................................................. 14
   1.124   Impaired .............................................................................................................................. 14
   1.125   ING Bulker Credit Facility Vessels .................................................................................. 14
   1.126   ING Offshore Credit Facility Vessels .............................................................................. 14
   1.127   Initial Distribution. ............................................................................................................ 14
   1.128   Intercompany Claim .......................................................................................................... 14
   1.129   Intercompany Interest ....................................................................................................... 14
   1.130   Interest ................................................................................................................................. 15
   1.131   Lien....................................................................................................................................... 15
   1.132   Management Companies .................................................................................................. 15
   1.133   NBG Credit Facility Vessel ............................................................................................... 15
   1.134   Newbuild Auction ............................................................................................................. 15
   1.135   Newbuild Tanker Construction Contracts. .................................................................... 15
   1.136   Newbuild Tanker Credit Facility. .................................................................................... 15
   1.137   Newbuild Tanker Credit Facility Claims ....................................................................... 15
   1.138   Newbuild Tanker Credit Facility Vessels ....................................................................... 15
   1.139   Newbuild Tanker Purchase Agreement ......................................................................... 15
   1.140   Newbuild Tanker Purchaser ............................................................................................ 15
   1.141   Newbuild Tanker Sale and Bid Procedures ................................................................... 16
   1.142   Newbuild Tanker Sale and Bid Procedures Order. ...................................................... 16
   1.143   Newbuild Tanker Sale Proceeds ...................................................................................... 16
   1.144   Newbuild Tanker Sale Transaction ................................................................................. 16
   1.145   Oceangoing Auction .......................................................................................................... 16
   1.146   Oceangoing Equity Purchase Agreement ...................................................................... 16
   1.147   Oceangoing Equity Purchaser .......................................................................................... 16
   1.148   Oceangoing Equity Sale and Bid Procedures ................................................................ 16
   1.149   Oceangoing Equity Sale and Bid Procedures Order ..................................................... 16
   1.150   Oceangoing Equity Sale Proceeds ................................................................................... 16
   1.151   Oceangoing Equity Sale Transaction .............................................................................. 16
   1.152   Oceangoing Minimum Working Capital ........................................................................ 17
   1.153   Oceangoing Working Capital Contribution................................................................... 17
   1.154   Offshore Credit Facility Vessels ....................................................................................... 17
   1.155   Offshore Minimum Working Capital ............................................................................. 17


                                                                     iii
17-10184-scc             Doc 281              Filed 08/15/17 Entered 08/15/17 18:56:19                                              Main Document
                                                            Pg 5 of 60


    1.156           Other Priority Claim .......................................................................................................... 17
    1.157           Person .................................................................................................................................. 17
    1.158           Petition Date ....................................................................................................................... 17
    1.159           Plan....................................................................................................................................... 17
    1.160           Plan Supplement ................................................................................................................ 17
    1.161           Prepetition Cash Reconciliation ....................................................................................... 17
    1.162           Priority Tax Claim .............................................................................................................. 18
    1.163           Professional ......................................................................................................................... 18
    1.164           Professional Compensation - Accrued............................................................................ 18
    1.165           Professional Fee Claim ...................................................................................................... 18
    1.166           Professional Fee Escrow Account .................................................................................... 18
    1.167           Professional Fee Reserve Amount ................................................................................... 18
    1.168           Pro Rata ............................................................................................................................... 18
    1.169           Proof of Claim..................................................................................................................... 18
    1.170           Released Party .................................................................................................................... 18
    1.171           Releasing Parties ................................................................................................................ 19
    1.172           Reorganized Citi Tanker Debtors .................................................................................... 19
    1.173           Reorganized Commerzbank I Debtors ........................................................................... 19
    1.174           Reorganized Commerzbank II Debtor ............................................................................ 19
    1.175           Reorganized Credit Agricole Tanker Debtor ................................................................. 19
    1.176           Reorganized Danish Ship Bulker Debtors ...................................................................... 19
    1.177           Reorganized Danish Ship Tanker Debtors ..................................................................... 19
    1.178           Reorganized Debtors ......................................................................................................... 19
    1.179           Reorganized DNB Tanker Debtors .................................................................................. 19
    1.180           Reorganized ING Bulker Debtors.................................................................................... 20
    1.181           Reorganized NBG Debtor ................................................................................................. 20
    1.182           Reorganized Oceangoing Vessel Debtors ...................................................................... 20
    1.183           Reorganized Toisa.............................................................................................................. 20
    1.184           Reorganized Trade and Transport ................................................................................. 20
    1.185           Reorganized Trade and Transport Enterprise ............................................................... 20
    1.186           Retained Actions ................................................................................................................ 20
    1.188           Schedules ............................................................................................................................. 20
    1.189           Secured Claim ..................................................................................................................... 20
    1.190           Toisa ..................................................................................................................................... 20
    1.191           Toisa Equity Contribution ................................................................................................ 21
    1.192           T&T ...................................................................................................................................... 21
    1.193           Unimpaired ......................................................................................................................... 21
    1.194           Wells Fargo Credit Facility Vessel ................................................................................... 21
 ARTICLE II
 ADMINISTRATIVE EXPENSE AND PRIORITY CLAIMS ................................................................ 22
  2.1       Administrative Claims ...................................................................................................... 22
  2.2       Priority Tax Claims ............................................................................................................ 22
  2.3       Professional Fee Claims .................................................................................................... 22
 ARTICLE III
 CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS ....................................... 23
   3.1       Classification And Settlement .......................................................................................... 23
   3.2       Summary of Classification.. .............................................................................................. 23
   3.3       Treatment Of Classes ......................................................................................................... 24
   3.4       Enforcement of Subordination Agreements. ................................................................. 34
   3.5       Alternative Treatment ....................................................................................................... 35
   3.6       Special Provision Regarding Unimpaired Claims ........................................................ 35




                                                                              iv
17-10184-scc              Doc 281            Filed 08/15/17 Entered 08/15/17 18:56:19                                        Main Document
                                                           Pg 6 of 60


 ARTICLE IV
 ACCEPTANCE OR REJECTION OF THIS PLAN ............................................................................... 35
  4.1       Acceptance By Class Entitled To Vote ............................................................................ 35
  4.2       Presumed Acceptance Of The Plan. ................................................................................ 35
  4.3       Elimination Of Classes ...................................................................................................... 35
  4.4       Cramdown .......................................................................................................................... 35
 ARTICLE V
 MEANS FOR IMPLEMENTATION OF THIS PLAN .......................................................................... 36
  5.1      Continued Legal Existence. .............................................................................................. 36
  5.2      The Oceangoing Equity Sale ............................................................................................ 36
  5.3      The Newbuild Tanker Sale ............................................................................................... 36
  5.4      Sources of Cash for Toisa Distributions and Operations.. ........................................... 36
  5.5      Sources of Cash for Reorganized Oceangoing
           Debtors Distributions and Operations. ........................................................................... 36
  5.6      Approval and Authorization for the Amended and Restated Credit Facilities. ...... 36
  5.7      New Boards of Reorganized Debtors.............................................................................. 37
  5.8      Corporate Action................................................................................................................ 37
  5.9      Effectuating Documents; Further Transactions ............................................................ 37
  5.10     Preservation Of Retained Actions. .................................................................................. 37
  5.11     Exemption From Certain Transfer Taxes And Recording Fees................................... 37
  5.12     Further Authorization ....................................................................................................... 38
  5.13     Cancellation Of Existing Securities And Agreements .................................................. 38
 ARTICLE VI
 PROVISIONS GOVERNING DISTRIBUTIONS ................................................................................... 38
   6.1      Distribution Record Date .................................................................................................. 38
   6.2      Allowed Claims.. ................................................................................................................ 38
   6.3      Distributions For Claims Allowed As Of The Effective Date. ..................................... 38
   6.4      Interest And Penalties On Claims. .................................................................................. 39
   6.5      Delivery of Distributions.. ................................................................................................ 39
   6.6      Manner of Payment Under Plan. ..................................................................................... 39
   6.7      Withholding and Reporting Requirements.................................................................... 39
   6.8      Setoffs................................................................................................................................... 39
   6.9      Payment of Disputed Claims.. ......................................................................................... 40
 ARTICLE VII
 PROCEDURES FOR DISPUTED CLAIMS ............................................................................................ 40
   7.1     Allowance of Claims.......................................................................................................... 40
   7.2     Objections to Claims. ......................................................................................................... 40
   7.3     Estimation of Claims. ........................................................................................................ 40
   7.4     Establishment of Reserve Account. ................................................................................. 41
   7.5     No Distributions Pending Allowance.. ........................................................................... 41
   7.6     Resolution of Claims. ........................................................................................................ 41
   7.7     Disallowed Claims. ............................................................................................................ 41
 ARTICLE VIII
 TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES ................................ 41
   8.1     Rejection Of Executory Contracts And Unexpired Leases .......................................... 41
   8.2     Assumption of Existing Management Executory Contracts. ...................................... 42
   8.3     D&O Liability Insurance Policies .................................................................................... 42
   8.4     Indemnification .................................................................................................................. 42
   8.5     Cure of Defaults Under Assumed Contracts ................................................................. 42
 ARTICLE IX
 CONDITIONS PRECEDENT TO THE EFFECTIVE DATE ................................................................ 43


                                                                            v
17-10184-scc              Doc 281            Filed 08/15/17 Entered 08/15/17 18:56:19                                       Main Document
                                                           Pg 7 of 60


    9.1              Conditions Precedent to the Effective Date. ................................................................ 43
    9.2              Waiver of Conditions Precedent. ..................................................................................... 44
    9.3              Effect of Failure of Conditions to Effective Date. .......................................................... 44
 ARTICLE X
 EFFECT OF PLAN CONFIRMATION .................................................................................................. 44
   10.1    Binding Effect ..................................................................................................................... 44
   10.2    Revesting Of Assets ........................................................................................................... 45
   10.3    Compromise And Settlement Of Claims, Interests And Controversies .................... 45
   10.4    Releases And Related Matters.......................................................................................... 45
   10.5    Discharge. Of the Debtors ................................................................................................. 47
   10.6    Injunction ............................................................................................................................ 47
   10.7    Exculpation And Limitation Of Liability ....................................................................... 47
   10.8    Term Of Bankruptcy Injunction Or Stays ....................................................................... 48
   10.9    Post-Confirmation Date Retention Of Professionals .................................................... 48
 ARTICLE XI
 RETENTION OF JURISDICTION .......................................................................................................... 48
   11.1     Retention of Jurisdiction. .................................................................................................. 48
 ARTICLE XII
 MISCELLANEOUS PROVISIONS ......................................................................................................... 50
  12.1     Payment Of Statutory Fees ............................................................................................... 50
  12.2     Amendment Or Modification Of This Plan ................................................................... 50
  12.3     Substantial Consummation. ............................................................................................. 50
  12.4     Severability Of Plan Provisions ....................................................................................... 50
  12.5     Successors And Assigns .................................................................................................... 51
  12.6     Revocation, Withdrawal, Or Non-Consummation ....................................................... 51
  12.7     Dissolution of Creditors’ Committee.. ............................................................................ 51
  12.8     Governing Law. .................................................................................................................. 51
  12.9     Time. .................................................................................................................................... 51
  12.10    Immediate Binding Effect. ................................................................................................ 51
  12.11    Entire Agreement. .............................................................................................................. 52
  12.12    Notice ................................................................................................................................... 52
  12.13    Exhibits ................................................................................................................................ 52
  12.14    Filing Of Additional Documents ..................................................................................... 52
  12.15    Conflicts ............................................................................................................................... 53




                                                                           vi
17-10184-scc    Doc 281     Filed 08/15/17 Entered 08/15/17 18:56:19        Main Document
                                          Pg 8 of 60


                                     INTRODUCTION

                Toisa Limited and certain of its affiliates, as debtors and debtors in
 possession, propose the following joint plan of reorganization for the resolution of the
 outstanding Claims against and Interests in the Debtors. Reference is made to the
 Disclosure Statement for a discussion of (i) the Debtors' history, business and operations,
 (ii) a summary and analysis of this Plan, and (iii) certain related matters, including risk
 factors relating to the consummation of this Plan. Subject to certain restrictions and
 requirements set forth in section 1127 of the Bankruptcy Code, and Bankruptcy Rule
 3019 the Debtors reserve the right to alter, amend, modify, revoke, or withdraw this
 Plan prior to its substantial consummation.

                                         ARTICLE I

                DEFINED TERMS AND RULES OF INTERPRETATION

               Defined Terms. As used herein, capitalized terms shall have the meanings
 set forth below. Any term that is not otherwise defined herein, but that is used in the
 Bankruptcy Code or the Bankruptcy Rules, shall have the meaning given to that term in
 the Bankruptcy Code or the Bankruptcy Rules, as applicable.

               1.1     Administrative Claim means a Claim for costs and expenses of
 administration of the Chapter 11 Cases under sections 328, 330, 363, 364(c)(1), 365,
 503(b), or 507(b) of the Bankruptcy Code, including, but not limited to: (a) any actual
 and necessary costs and expenses, incurred on or after the Petition Date and through
 the Effective Date, of preserving the Estates and operating the businesses of the Debtors
 (b) Professional Fee Claims; (c) all fees and charges assessed against the Estates under
 Chapter 123 of Title 28 of the United States Code; and (d) all other claims entitled to
 administrative claim status pursuant to an order of the Bankruptcy Court.

                1.2   Administrative Claims Bar Date means the first Business Day that
 is 30 days following the Effective Date, except as otherwise specifically set forth in the
 Plan.

                1.3     Administrative Claims Objection Bar Date means the first
 Business Day that is 120 days following the Effective Date, except as otherwise
 specifically set forth in the Plan; provided that the Administrative Claims Objection Bar
 Date may be extended pursuant to an order of the Bankruptcy Court upon a motion
 filed by the Reorganized Debtors after notice and a hearing.

               1.4     Affiliate means, with respect to any Person, "affiliate" as defined in
 section 101(2) of the Bankruptcy Code as if such Person were a Debtor.

               1.5    Allowed means, with respect to a Claim against any Debtor, except
 as otherwise provided herein, (a) a Claim that is (i) listed in the Schedules as of the
 Effective Date as neither disputed, contingent nor unliquidated, and for which no Proof
 of Claim has been timely filed, or (ii) evidenced by a valid Proof of Claim or request for
 payment of Administrative Claim, as applicable, filed by the applicable Bar Date, and as
 to which the Debtors or other parties-in-interest have not filed an objection to the
17-10184-scc    Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19        Main Document
                                         Pg 9 of 60


 allowance thereof by the Claims Objection Deadline, or (b) a Claim that is Allowed
 under the Plan or any stipulation or settlement approved by, or Final Order of, the
 Bankruptcy Court; provided, however, that any Claims allowed solely for the purpose of
 voting to accept or reject the Plan pursuant to an order of the Bankruptcy Court will not
 be considered “Allowed Claims” under the Plan. Notwithstanding the foregoing, a
 Claim shall not be Allowed and shall not be entitled to a distribution under the Plan to
 the extent it has been satisfied prior to the Effective Date. If a Claim is Allowed only in
 part, references to Allowed Claims include and are limited to the Allowed portion of
 such Claim. Notwithstanding anything to the contrary herein, no Claim that is
 disallowed in accordance with Bankruptcy Rule 3003 or section 502(d) of the
 Bankruptcy Code is Allowed and each such Claim shall be expunged without further
 action by the Debtors and without further notice to any party or action, approval, or
 order of the Bankruptcy Court.

              1.6     Allowed Claim means an Allowed Claim of the particular type or
 Class described.

               1.7    Amended and Restated BNP Credit Facility means that certain
 amended and restated financing facility, in a principal amount equal to the outstanding
 principal amount under the Existing BNP Credit Facility, among the Reorganized Toisa
 as borrower, and the lender parties thereto as reflected in the amended and restated
 forms of the Existing BNP Credit Facility Documents, which shall be filed as part of the
 Plan Supplement and entered into on the Effective Date.

              1.8     Amended and Restated Citi Offshore Credit Facility means that
 certain amended and restated financing facility, in a principal amount equal to the
 outstanding principal amount under the Existing Citi Offshore Credit Facility, among
 Reorganized Toisa as borrower and the lender parties thereto as reflected in the
 amended and restated forms of the Existing Citi Offshore Credit Facility Documents,
 which shall be filed as part of the Plan Supplement and entered into on the Effective
 Date.

               1.9     Amended and Restated Citi Tanker Credit Facility means that
 certain amended and restated financing facility, in a principal amount equal to the
 outstanding principal amount under the Existing Citi Tanker Credit Facility, among the
 Reorganized Citi Tanker Debtors as borrower, Reorganized Trade and Transport as
 guarantor, and the lender parties thereto as reflected in the amended and restated forms
 of the Existing Citi Tanker Credit Facility Documents, which shall be filed as part of the
 Plan Supplement and entered into on the Effective Date.

                1.10 Amended and Restated Citizens I Credit Facility means that certain
 amended and restated financing facility, in a principal amount equal to the outstanding
 principal amount under the Existing Citizens I Credit Facility, among the Reorganized
 Toisa as borrower, and the lender parties thereto as reflected in the amended and
 restated forms of the Existing Citizens I Credit Facility Documents, which shall be filed
 as part of the Plan Supplement and entered into on the Effective Date.

             1.11 Amended and Restated Citizens II Credit Facility means that
 certain amended and restated financing facility, in a principal amount equal to the


                                              2
17-10184-scc   Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19      Main Document
                                       Pg 10 of 60


 outstanding principal amount under the Existing Citizens II Credit Facility, among the
 Reorganized Toisa as borrower, and the lender parties thereto as reflected in the
 amended and restated forms of the Existing Citizens II Credit Facility Documents,
 which shall be filed as part of the Plan Supplement and entered into on the Effective
 Date.

               1.12 Amended and Restated Commerzbank I Credit Facility means that
 certain amended and restated financing facility, in a principal amount equal to the
 outstanding principal amount under the Existing Commerzbank I Credit Facility,
 among the Reorganized Commerzbank I Debtors as borrower, Reorganized Trade and
 Transport as guarantor, and the lender parties thereto as reflected in the amended and
 restated forms of the Existing Commerzbank I Credit Facility Documents, which shall
 be filed as part of the Plan Supplement and entered into on the Effective Date.

               1.13 Amended and Restated Commerzbank II Credit Facility means that
 certain amended and restated financing facility, in a principal amount equal to the
 outstanding principal amount under the Existing Commerzbank II Credit Facility,
 among the Reorganized Commezbank II Debtors as borrower, Reorganized Trade and
 Transport as guarantor, and the lender parties thereto as reflected in the amended and
 restated forms of the Existing Commerzbank II Credit Facility Documents, which shall
 be filed as part of the Plan Supplement and entered into on the Effective Date.

                1.14 Amended and Restated Commonwealth Bank of Australia Credit
 Facility means that certain amended and restated financing facility, in a principal
 amount equal to the outstanding principal amount under the Existing Commonwealth
 Bank of Australia Credit Facility, among the Reorganized Toisa as borrower, and the
 lender parties thereto as reflected in the amended and restated forms of the Existing
 Commonwealth Bank of Australia Credit Facility Documents, which shall be filed as
 part of the Plan Supplement and entered into on the Effective Date.

                1.15 Amended and Restated Credit Agricole Offshore Credit Facility
 means that certain amended and restated financing facility, in a principal amount equal
 to the outstanding principal amount under the Existing Credit Agricole Offshore Credit
 Facility, among the Reorganized Toisa as borrower, and the lender parties thereto as
 reflected in the amended and restated forms of the Existing Credit Agricole Offshore
 Credit Facility Documents, which shall be filed as part of the Plan Supplement and
 entered into on the Effective Date.

                1.16 Amended and Restated Credit Agricole Tanker Credit Facility
 means that certain amended and restated financing facility, in a principal amount equal
 to the outstanding principal amount under the Existing Credit Agricole Tanker Credit
 Facility, among the Reorganized Credit Agricole Tanker Debtor as borrower,
 Reorganized Trade and Transport as guarantor, and the lender parties thereto as
 reflected in the amended and restated forms of the Existing Credit Agricole Tanker
 Credit Facility Documents, which shall be filed as part of the Plan Supplement and
 entered into on the Effective Date.




                                            3
17-10184-scc    Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19       Main Document
                                        Pg 11 of 60


              1.17 Amended and Restated Credit Facilities means collectively the
 Amended and Restated Offshore Facilities and the Amended and Restated Offshore
 Facilitites.

                1.18 Amended and Restated Danish Ship Bulker Credit Facility means
 that certain amended and restated financing facility, in a principal amount equal to the
 outstanding principal amount under the Existing Danish Ship Bulker Credit Facility,
 among the Reorganized Danish Ship Bulker Debtors as borrower, Reorganized Trade
 and Transport as guarantor, and the lender parties thereto as reflected in the amended
 and restated forms of the Existing Danish Ship Bulker Credit Facility Documents, which
 shall be filed as part of the Plan Supplement and entered into on the Effective Date.

                1.19 Amended and Restated Danish Ship Offshore Credit Facility
 means that certain amended and restated financing facility, in a principal amount equal
 to the outstanding principal amount under the Existing Danish Ship Offshore Credit
 Facility, among the Reorganized Toisa as borrower, and the lender parties thereto as
 reflected in the amended and restated forms of the Existing Danish Ship Offshore
 Credit Facility Documents, which shall be filed as part of the Plan Supplement and
 entered into on the Effective Date.

               1.20 Amended and Restated Danish Ship Tanker Credit Facility means
 that certain amended and restated financing facility, in a principal amount equal to the
 outstanding principal amount under the Existing Danish Ship Tanker Credit Facility,
 among the Reorganized Danish Ship Tanker Debtors as borrower, Reorganized Trade
 and Transport as guarantor, and the lender parties thereto as reflected in the amended
 and restated forms of the Existing Danish Ship Tanker Credit Facility Documents,
 which shall be filed as part of the Plan Supplement and entered into on the Effective
 Date.

              1.21 Amended and Restated DNB Offshore Credit Facility means that
 certain amended and restated financing facility, in a principal amount equal to the
 outstanding principal amount under the Existing DNB Offshore Credit Facility, among
 the Reorganized Toisa as borrower, and the lender parties thereto as reflected in the
 amended and restated forms of the Existing DNB Offshore Credit Facility Documents,
 which shall be filed as part of the Plan Supplement and entered into on the Effective
 Date.

                1.22 Amended and Restated DNB Tanker Credit Facility means that
 certain amended and restated financing facility, in a principal amount equal to the
 outstanding principal amount under the Existing DNB Tanker Credit Facility, among
 the Reorganized DNB Tanker Debtors as borrower, Reorganized Trade and Transport
 as guarantor, and the lender parties thereto as reflected in the amended and restated
 forms of the Existing DNB Tanker Credit Facility Documents, which shall be filed as
 part of the Plan Supplement and entered into on the Effective Date.

              1.23 Amended and Restated DVB Credit Facility means that certain
 amended and restated financing facility, in a principal amount equal to the outstanding
 principal amount under the Existing DVB Credit Facility, among the Reorganized Toisa
 as borrower, and the lender parties thereto as reflected in the amended and restated


                                             4
17-10184-scc    Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19      Main Document
                                        Pg 12 of 60


 forms of the Existing DVB Credit Facility Documents, which shall be filed as part of the
 Plan Supplement and entered into on the Effective Date.

               1.24 Amended and Restated ING Bulker Credit Facility means that
 certain amended and restated financing facility, in a principal amount equal to the
 outstanding principal amount under the Existing ING Bulker Credit Facility, among the
 Reorganized ING Bulker Debtors as borrower, Reorganized Trade and Transport as
 guarantor, and the lender parties thereto as reflected in the amended and restated forms
 of the Existing ING Bulker Credit Facility Documents, which shall be filed as part of the
 Plan Supplement and entered into on the Effective Date.

              1.25 Amended and Restated ING Offshore Credit Facility means that
 certain amended and restated financing facility, in a principal amount equal to the
 outstanding principal amount under the Existing ING Offshore Credit Facility, among
 the Reorganized Toisa as borrower, and the lender parties thereto as reflected in the
 amended and restated forms of the Existing ING Offshore Credit Facility Documents,
 which shall be filed as part of the Plan Supplement and entered into on the Effective
 Date.

               1.26 Amended and Restated NBG Credit Facility means that certain
 amended and restated financing facility, in a principal amount equal to the outstanding
 principal amount under the Existing NBG Credit Facility, among the Reorganized NBG
 Debtor as borrower, Reorganized Trade and Transport as guarantor, and the lender
 parties thereto as reflected in the amended and restated forms of the Existing NBG
 Credit Facility Documents, which shall be filed as part of the Plan Supplement and
 entered into on the Effective Date.

                1.27 Amended and Restated Offshore Facilities means collectively the
 Amended and Restated BNP Credit Facility, the Amended and Restated Citi Offshore
 Credit Facility, the Amended and Restated Citizens I Credit Facility, the Amended and
 Restated Citizens II Credit Facility, the Amended and Restated Commonwealth Bank of
 Australia Credit Facility, the Amended and Restated Credit Agricole Offshore Credit
 Facility, the Amended and Restated Danish Ship Offshore Credit Facility, the Amended
 and Restated DNB Offshore Credit Facility, the Amended and Restated DVB Credit
 Facility, the Amended and Restated ING Offshore Credit Facility, and the Amended
 and Restated Wells Fargo Credit Facility.

                1.28 Amended and Restated Oceangoing Facilities means collectively
 the Amended and Restated Citi Tanker Credit Facility, the Amended and Restated
 Commerzbank I Credit Facility, the Amended and Restated Commerzbank II Credit
 Facility, the Amended and Restated Credit Agricole Tanker Credit Facility, the
 Amended and Restated Danish Ship Bulker Credit Facility, the Amended and Restated
 Danish Ship Tanker Credit Facility, the Amended and Restated DNB Tanker Credit
 Facility, the Amended and Restated ING Bulker Credit Facility, and the Amended and
 Restated NBG Credit Facility.

              1.29 Amended and Restated Wells Fargo Credit Facility means that
 certain amended and restated financing facility, in a principal amount equal to the
 outstanding principal amount under the Existing Wells Fargo Credit Facility, among the


                                             5
17-10184-scc    Doc 281     Filed 08/15/17 Entered 08/15/17 18:56:19        Main Document
                                         Pg 13 of 60


 Reorganized Toisa as borrower, and the lender parties thereto as reflected in the
 amended and restated forms of the Existing Wells Fargo Credit Facility Documents,
 which shall be filed as part of the Plan Supplement and entered into on the Effective
 Date.

                1.30 Avoidance Action means any claim or Cause of Action of an Estate
 arising out of or maintainable pursuant to sections 510, 541, 542, 543, 544, 545, 547, 548,
 549, 550, 551, or 553 of the Bankruptcy Code or under any other similar applicable non-
 bankruptcy law, regardless of whether or not such action has been commenced prior to
 the Effective Date.

               1.31 Ballot means each of the ballot forms distributed to each Holder of
 a Claim that is entitled to vote to accept or reject this Plan and on which the Holder is to
 indicate, among other things, acceptance or rejection of this Plan.

                1.32 Bankruptcy Code means Title 11 of the United States Code, as now
 in effect or hereafter amended, to the extent such amendments apply to the Chapter 11
 Cases.

              1.33 Bankruptcy Court means the United States Bankruptcy Court for
 the Southern District of New York, or any other court with jurisdiction over the Chapter
 11 Cases.

             1.34 Bankruptcy Rules means the Federal Rules of Bankruptcy
 Procedure and the local rules of the Bankruptcy Court, as now in effect or hereafter
 amended.

                1.35 Bar Date means (i) August 8, 2017 at 5:00 p.m. (Eastern Time), the
 date by which each Holder of a Claim against any of the Debtors, unless such Claim
 falls within one of the exceptions, must have filed a Proof of Claim against such
 Debtor(s); (ii) the later of (a) the General Bar Date and (b) 5:00 p.m. (prevailing Eastern
 time) on the date that is 60 days after entry of a Court order pursuant to which
 executory contracts or unexpired leases are rejected for claims arising from such
 rejected agreements; (iii) the later of (a) the General Bar Date and (b) 5:00 p.m.
 (prevailing Eastern time) on the date that is 60 days after the date that notice of any
 applicable amendment or supplement to the Schedules is served on a claimant for those
 claims affected by any such amendment or supplement to the Schedules; and July 28,
 2017 at 5:00 p.m. (prevailing Eastern time) for governmental units.

              1.36 BNP Credit Facility Vessels means collectively the vessels Toisa
 Pegasus and Toisa Paladin.

               1.37 Business Day means any day, other than a Saturday, Sunday, or
 "legal holiday" (as defined in Bankruptcy Rule 9006(a)).

               1.38 Cash means legal tender of the United States of America and
 equivalents thereof.




                                              6
17-10184-scc      Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19        Main Document
                                          Pg 14 of 60


               1.39 Cause of Action means any action, proceeding, agreement, Claim,
 cause of action, controversy, demand, debt, right, action, Avoidance Action, Lien,
 indemnity, guaranty, suit, obligation, liability, damage, judgment, account, defense,
 offset, power, privilege, recoupment, crossclaim, counterclaim, third-party claim,
 indemnity claim, contribution claim or any other claim known or unknown, contingent
 or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or
 unliquidated, disputed or undisputed, secured or unsecured, assertable directly or
 derivatively, whether pending in litigation or otherwise, in contract or in tort, in law or
 in equity or pursuant to any other theory of law, based in whole or in part upon any act
 or omission or other event occurring prior to the Effective Date.

              1.40 Chapter 11 Case(s) means (a) when used with reference to a
 particular Debtor, the case under Chapter 11 of the Bankruptcy Code commenced by
 such Debtor in the Bankruptcy Court and (b) when used with reference to all Debtors,
 the cases under Chapter 11 of the Bankruptcy Code commenced by the Debtors in the
 Bankruptcy Court.

               1.41 Citi Offshore Facility Vessels means collectively the vessels Toisa
 Envoy, Toisa Explorer, Toisa Elan, and Toisa Wave.

              1.42 Citi Tanker Facility Vessels means collectively the vessels United
 Journey and United Seas.

                 1.43   Citizens I Credit Facility Vessel means the vessel Toisa Independent.

                 1.44   Citizens II Credit Facility Vessel means the vessel Toisa Coral.

             1.45 Claim means a "claim" as defined in section 101(5) of the
 Bankruptcy Code.

               1.46 Claims Objection Deadline means (i) ninety (90) days following the
 Effective Date or (ii) such other later date that the Bankruptcy Court may establish upon
 a motion by the Debtors or Reorganized Debtors, which motion may be approved
 without a hearing and without notice to any party.

                1.47    Class means a category of Claims or Interests, as described in
 Article III hereof.

             1.48 Commerzbank I Credit Facility Vessels means collectively the
 vessels named United Banner, United Carrier, and United Ambassador

                 1.49   Commerzbank II Credit Facility Vessel means the vessel named
 United Honor.

             1.50 Commonwealth Bank of Australia Credit Facility Vessel means the
 vessels named Toisa Solitare and Toisa Warrior.

             1.51 Confirmation means the confirmation of this Plan by the
 Bankruptcy Court under section 1129 of the Bankruptcy Code.



                                                7
17-10184-scc      Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19      Main Document
                                          Pg 15 of 60


              1.52 Confirmation Date means the date on which the Bankruptcy Court
 enters the Confirmation Order on the docket of the Bankruptcy Court.

               1.53 Confirmation Hearing means the hearing held by the Bankruptcy
 Court pursuant to section 1128 of the Bankruptcy Code to consider confirmation of this
 Plan, as such hearing may be adjourned or continued from time to time.

              1.54 Confirmation Order means the order of the Bankruptcy Court
 confirming this Plan pursuant to section 1129 of the Bankruptcy Code.

               1.55 Credit Agricole Offshore Credit Facility Vessels means collectively
 the vessels Toisa Valiant, Toisa Vigilant, and Toisa Voyager.

                 1.56   Credit Agricole Tanker Credit Facility Vessel means the vessel
 United Grace.

                 1.57 D&O Liability Insurance Policies means all insurance policies for
 directors' and officers' liability maintained by the Debtors, including any directors' and
 officers' "tail policy."

               1.58 Danish Ship Bulker Credit Facility Vessels means collectively the
 vessels Trade Vision and Trade Will.

               1.59 Danish Ship Offshore Credit Facility Vessels means collectively the
 vessels Toisa Defiant, Toisa Daring, United Leadership, and Toisa Dauntless.

               1.60 Danish Ship Tanker Credit Facility Vessels means collectively the
 vessels United Leadership and United Kalavryta.

               1.61 Debtors means Trade Prosperity, Inc.; Toisa Limited; United
 Courage, Inc.; Trade Vision, Inc.; United Journey, Inc.; United Kalavryta, Inc.; Trade
 Sky, Inc.; Trade Industrial Development Corporation; United Honor, Inc.; Trade Will,
 Inc.; United Leadership Inc.; United Seas, Inc.; United Dynamic, Inc.; United Emblem,
 Inc.; United Ideal Inc.; Trade Unity, Inc.; Trade Quest, Inc.; Trade Spirit, Inc.; Trade
 Resource, Inc.; United Ambassador, Inc.; Edgewater Offshore Shipping, Ltd.; United
 Banner, Inc.; Toisa Horizon, Inc.; and Trade and Transport Inc.

               1.62 Disclosure Statement means the disclosure statement (including all
 exhibits and schedules thereto) relating to this Plan, as amended, modified or
 supplemented from time to time, and distributed contemporaneously herewith.

              1.63 Disputed Claim means (a) any Claim as to which the Debtors have
 interposed an objection or request for estimation in accordance with the Bankruptcy
 Code and the Bankruptcy Rules, or any Claim otherwise disputed by the Debtors, the
 Reorganized Debtors, or other party in interest in accordance with applicable law,
 which objection has not been withdrawn or determined by a Final Order, (b) any Claim
 scheduled by the Debtors as contingent, unliquidated, or disputed, (c) any Claim which
 amends a claim scheduled by the Debtors as contingent, unliquidated, or disputed, or
 (d) any Claim prior to it having become an Allowed Claim.



                                               8
17-10184-scc    Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19        Main Document
                                        Pg 16 of 60


               1.64 Distribution Date means a date or dates, including the Initial
 Distribution Date as determined by the Disbursing Agent in accordance with the terms
 of the Plan, on which the Disbursing Agent Makes a distribution to holders of Allowed
 Claims.

               1.65   Distribution Record Date means October 30, 2017.

                1.66 DNB Offshore Credit Facility Vessels means collectively the vessels
 Toisa Proteus, Toisa Intrepid, and Toisa Conqueror.

              1.67 DNB Tanker Credit Facility Vessels means collectively the vessels
 United Emblem, United Dynamic, Toisa Invincible, and United Ideal.

               1.68 DVB Credit Facility Vessels means collectively the vessels Toisa
 Pisces and Toisa Perseus.

              1.71 Effective Date means the Business Day this Plan becomes effective
 as provided in Article IX hereof.

             1.72 Entity means "entity" as defined in section 101(15) of the
 Bankruptcy Code.

                1.73 Estate(s) means, individually, the estate of any of the Debtors and,
 collectively, the estates of all of the Debtors created under section 541 of the Bankruptcy
 Code.

             1.74 Excluded Assets shall have the meaning ascribed to it in the
 Purchase Agreement.

               1.75 Exculpated Parties means collectively: (a) the Debtors; (b) the
 Newbuild Tanker Purchaser; (c) the Oceangoing Equity Purchaser; and (d) with
 respect to each of the foregoing entities such entities’ predecessors, successors, and
 assigns, subsidiaries, Affiliates, current and former officers, directors, principals,
 shareholders, members, partners, employees, agents, advisory board members,
 financial advisors, attorneys, accountants, investment bankers, consultants,
 representatives, management companies, and other professionals, and such persons’
 respective heirs, executor, Estates, servants and nominees, in each case in their capacity
 as such.

               1.76 Executory Contract means a contract to which one or more of the
 Debtors is a party that is subject to assumption or rejection under section 365 of the
 Bankruptcy Code.

             1.77 Exhibit means an exhibit annexed to either this Plan, the Plan
 Supplement, or as an appendix to the Disclosure Statement, as amended, modified or
 supplemented from time to time.

                 1.78 Existing BNP Credit Facility means that certain senior secured
 credit facility, dated as of March 11, 2008, utilized to finance the BNP Credit Facility
 Vessels, which has a term of twelve (12) years from the drawdown date and has a rate


                                              9
17-10184-scc     Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19          Main Document
                                         Pg 17 of 60


 of Libor + 150 bps. The unpaid principal balance of the BNP Credit Facility as of the
 Petition Date was approximately $78,869,046.

              1.79 Existing BNP Credit Facility Claims means all Claims outstanding
 under the Existing BNP Credit Facility, whether such Claims are secured or
 undersecured as of the Petition Date.

              1.80 Existing Citi Offshore Credit Facility means that certain senior
 secured credit facility, dated as of December 30, 2009, utilized to finance the Citi
 Offshore Facility Vessels, which has a term of ten (10) years with a rate of Libor + 3%.
 The unpaid principal balance on the Citi Offshore Credit Facility as of the Petition Date
 was approximately $99,493,000.

              1.81 Existing Citi Offshore Credit Facility Claims means all Claims
 outstanding under the Existing Citi Offshore Credit Facility, whether such Claims are
 secured or undersecured as of the Petition Date.

               1.82 Existing Citi Tanker Credit Facility means that certain senior
 secured credit facility, dated as of January 26, 2015, utilized to finance the Citi Tanker
 Facility Vessels, which has a term of five (5) years and a rate of Libor +2%. The unpaid
 principal balance of the Citi Tanker Credit Facility as of the Petition Date was
 $46,094,548.

              1.83 Existing Citi Tanker Credit Facility Claims means all Claims
 outstanding under the Existing Citi Tanker Credit Facility, whether such Claims are
 secured or undersecured as of the Petition Date.

               1.84 Existing Citizens I Credit Facility means that certain senior
 secured credit facility, dated as of July 28, 2010, utilized to finance the Citizens I Credit
 Facility Vessel, which has a term of seven (7) years and rate of Libor + 2.5%. The
 unpaid principal balance on the Citizens I Credit Facility as of the Petition Date was
 approximately $12,260,000.

              1.85 Existing Citizens I Credit Facility Claims means all Claims
 outstanding under the Existing Citizens I Credit Facility, whether such Claims are
 secured or undersecured as of the Petition Date.

               1.86 Existing Citizens II Credit Facility means that certain senior
 secured credit facility, dated as of July 28, 2010, utilized to finance the Citizens Credit II
 Facility Vessel, which has a term of seven (7) years and rate of Libor + 2.5%. The
 unpaid principal balance on the Citizens II Credit Facility as of the Petition Date was
 approximately $6,535,258.

              1.87 Existing Citizens II Credit Facility Claims means all Claims
 outstanding under the Existing Citizens II Credit Facility, whether such Claims are
 secured or undersecured as of the Petition Date.

              1.88 Existing Commerzbank I Credit Facility means that certain senior
 secured credit facility, dated as of June 13, 2007, utilized to finance the Commerzbank I



                                               10
17-10184-scc    Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19       Main Document
                                        Pg 18 of 60


 Credit Facility Vessels, which has a term of ten (10) years and a rate of Libor + 1%. The
 unpaid principal balance on the Commerzbank I Credit Facility as of the Petition Date
 was $53,237,261.

              1.89 Existing Commerzbank I Credit Facility Claims means all Claims
 outstanding under the Existing Commerzbank I Credit Facility, whether such Claims
 are secured or undersecured as of the Petition Date.

                1.90 Existing Commerzbank II Credit Facility means that certain senior
 secured credit facility, dated as of March 3, 2010, utilized to finance the Commerzbank
 II Credit Facility Vessel, which has a term of ten (10) years and a rate of Libor + 2.5%.
 The unpaid principal balance on the Commerzbank II Credit Facility as of the Petition
 Date was $25,609,035.

              1.91 Existing Commerzbank II Credit Facility Claims means all Claims
 outstanding under the Existing Commerzbank II Credit Facility, whether such Claims
 are secured or undersecured as of the Petition Date.

                1.92 Existing Commonwealth Bank of Australia Credit Facility means
 that certain senior secured credit facility, dated as of February 21, 2014, utilized to
 finance the Commonwealth Bank of Australia Credit Facility Vessel, which has term of
 seven (7) years and rate of Libor + 2.35%. The unpaid principal balance of the
 Commonwealth Bank of Australia Credit Facility as of the Petition Date was
 approximately $22,750,000.

               1.93 Existing Commonwealth Bank of Australia Credit Facility Claims
 means all Claims outstanding under the Existing Commonwealth Bank of Australia
 Credit Facility, whether such Claims are secured or undersecured as of the Petition Date.

              1.94 Existing Credit Agricole Offshore Credit Facility means that certain
 senior secured credit facility, dated as of September 21, 2007, utilized to finance the
 Credit Agricole Offshore Credit Facility Vessels, which has a term of twelve (12) years
 from the drawdown date and a rate of Libor + 0.65 %. The unpaid principal balance on
 the Credit Agricole Offshore Credit Facility as of the Petition Date was approximately
 $47,400,000.

              1.95 Existing Credit Agricole Offshore Credit Facility Claims means all
 Claims outstanding under the Existing Credit Agricole Offshore Credit Facility,
 whether such Claims are secured or undersecured as of the Petition Date.

               1.96 Existing Credit Agricole Tanker Credit Facility means that certain
 senior secured credit facility, dated as of November 7, 2008, utilized to finance the
 purchase of the Credit Agricole Tanker Credit Facility Vessel, which has a term of
 twelve (12) years and a rate of Libor + 1.0%. The unpaid principal balance on the Credit
 Agricole Tanker Credit Facility as of the Petition Date was approximately $25,976,000.

              1.97 Existing Credit Agricole Tanker Credit Facility Claims means all
 Claims outstanding under the Existing Credit Agricole Tanker Credit Facility, whether
 such Claims are secured or undersecured as of the Petition Date.



                                             11
17-10184-scc    Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19        Main Document
                                        Pg 19 of 60


               1.98 Existing Danish Ship Bulker Credit Facility means that certain
 senior secured credit facility, dated as of March 22, 2013, utilized to finance the
 purchase of the Danish Ship Finance Bulker Credit Facility Vessels, which has a term
 four (4) years and nine (9) months and a rate of Libor + 2.95%. The unpaid principal
 balance on the Danish Ship Bulker Credit Facility as of the Petition Date was
 approximately $22,000,000.

              1.99 Existing Danish Ship Bulker Credit Facility Claims means all
 Claims outstanding under the Existing Danish Ship Credit Facility, whether such
 Claims are secured or undersecured as of the Petition Date.

               1.100 Existing Danish Ship Offshore Credit Facility means that certain
 senior secured credit facility, dated as of November 11, 2014, utilized to finance the
 Danish Ship Finance Offshore Credit Facility Vessels, which has a term of seven (7)
 years and a rate of Libor + 1.90%. In addition, the vessel named United Leadership was
 added as additional collateral on April 28, 2016. The unpaid principal balance on the
 Danish Ship Offshore Credit Facility as of the Petition Date was approximately
 $64,643,000.

              1.101 Existing Danish Ship Offshore Credit Facility Claims means all
 Claims outstanding under the Existing Danish Ship Offshore Credit Facility, whether
 such Claims are secured or undersecured as of the Petition Date.

               1.102 Existing Danish Ship Tanker Credit Facility means that certain
 senior secured credit facility, dated as of February 28, 2014, utilized to finance the
 purchase of the Danish Ship Tanker Credit Facility Vessels, which has a term of seven 7
 years with a rate of Libor + 1.8%. The unpaid principal balance on the Danish Ship
 Tanker Credit Facility as of the Petition Date was $35,285,720.

              1.103 Existing Danish Ship Tanker Credit Facility Claims means all
 Claims outstanding under the Existing Danish Ship Tanker Credit Facility, whether
 such Claims are secured or undersecured as of the Petition Date.

               1.104 Existing DNB Offshore Credit Facility means that certain senior
 secured credit facility, dated as of December 16, 2014, utilized to finance the purchase of
 the DNB Offshore Credit Facility Vessels, which has a term of five (5) years and a rate of
 Libor + 2.25 %. The unpaid principal balance on the DNB Offshore Credit Facility as of
 the Petition Date was approximately $58,411,354.

              1.105 Existing DNB Offshore Credit Facility Claims means all Claims
 outstanding under the Existing DNB Offshore Credit Facility, whether such Claims are
 secured or undersecured as of the Petition Date.

              1.106 Existing DNB Tanker Credit Facility means that certain senior
 secured credit facility, dated as of September 20, 2010, utilized to finance the DNB
 Tanker Credit Facility Vessels, which has a term of ten (10) years and a rate of Libor +
 0.650% - 0.90% depending on the interest coverage ratio. The unpaid principal balance
 on the DNB Tanker Credit Facility as of the Petition Date was $110,703,990.




                                             12
17-10184-scc    Doc 281     Filed 08/15/17 Entered 08/15/17 18:56:19         Main Document
                                         Pg 20 of 60


              1.107 Existing DNB Tanker Credit Facility Claims means all Claims
 outstanding under the Existing DNB Tanker Credit Facility, whether such Claims are
 secured or undersecured as of the Petition Date.

                 1.108 Existing DVB Credit Facility means that certain senior secured
 credit facility, dated as of December 19, 2014, utilized to partially finance DVB Credit
 Facility Vessels, which has a term of five (5) years and a rate of Libor + 2.15 %. The
 unpaid principal balance on the DVB Credit Facility as of the Petition Date was
 approximately $73,978,000.

              1.109 Existing DVB Credit Facility Claims means all Claims outstanding
 under the Existing DVB Credit Facility, whether such Claims are secured or
 undersecured as of the Petition Date.

               1.110 Existing ING Bulker Credit Facility means that certain senior
 secured credit facility, dated as of May 7, 2015, utilized to finance the ING Bulker Credit
 Facility Vessels, which has a term of seven (7) years and a rate of Libor + 1.9%. The
 unpaid principal balance on the ING Bulker Credit Facility as of the Petition Date was
 $72,265,104.

              1.111 Existing ING Bulker Credit Facility Claims means all Claims
 outstanding under the Existing ING Bulker Credit Facility, whether such Claims are
 secured or undersecured as of the Petition Date.

               1.112 Existing ING Offshore Credit Facility means that certain senior
 secured credit facility, dated as of February 21, 2014, utilized to finance the purchase of
 the ING Offshore Credit Facility Vessels, which has a seven (7) year term and a rate of
 Libor + 2.35%. The unpaid principal balance on the ING Offshore Credit Facility as of
 the Petition Date was approximately $42,316,000.

              1.113 Existing ING Offshore Credit Facility Claims means all Claims
 outstanding under the Existing ING Offshore Credit Facility, whether such Claims are
 secured or undersecured as of the Petition Date.

                 1.114 Existing NBG Credit Facility means that certain senior secured
 credit facility, dated as of November 13, 2008, utilized to finance the purchase of the
 NBG Credit Facility Vessel, which has a term of ten (10) years and a rate of Libor + 1%.
 The unpaid principal balance on the NBG Credit Facility as of the Petition Date was
 approximately $29,925,000.

              1.115 Existing NBG Credit Facility Claims means all Claims outstanding
 under the Existing NBG Credit Facility, whether such Claims are secured or
 undersecured as of the Petition Date.

              1.116 Existing Wells Fargo Credit Facility means that certain senior
 secured credit facility, dated as of July 28, 2010, utilized to finance the purchase of the
 Wells Fargo Credit Facility Vessel, which has a term of seven (7) years from the
 drawdown date and a rate of Libor + 2.5%. The unpaid principal balance on the Wells
 Fargo Credit Facility as of the Petition Date was approximately $6,756,000.



                                              13
17-10184-scc    Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19       Main Document
                                        Pg 21 of 60


              1.117 Existing Wells Fargo Credit Facility Claims means all Claims
 outstanding under the Existing Wells Fargo Credit Facility, whether such Claims are
 secured or undersecured as of the Petition Date.

              1.118 Existing Management Agreements means the Management
 Agreements entered into by the Management Companies and Certain Debtors, a list of
 which will be provided in the Plan Supplement.

               1.119 Final Order means an order or judgment, the operation or effect of
 which has not been reversed, stayed, modified, or amended, and as to which order or
 judgment (or any reversal, stay, modification, or amendment thereof) (a) the time to
 appeal, seek certiorari, or request reargument or further review or rehearing has
 expired and no appeal, petition for certiorari, or request for reargument or further
 review or rehearing has been timely filed, or (b) any appeal that has been or may be
 taken or any petition for certiorari or request for reargument or further review or
 rehearing that has been or may be filed has been resolved by the highest court to which
 the order or judgment was appealed, from which certiorari was sought, or to which the
 request was made, and no further appeal or petition for certiorari or request for
 reargument or further review or rehearing has been or can be taken for granted.

                 1.120 G550 Airplane Credit Facility means that certain senior secured
 credit facility, dated as of June 16, 2015, utilized to finance the acquisition the G550
 Airplane. The G550 Airplane Credit Facility has a term of eight (8) years and a rate of
 Libor + 1.95%. The unpaid principal balance on the G550 Airplane Credit Facility was
 approximately $16,961,476 as of August 11, 2017.

              1.122 General Unsecured Claim means any Claim against any Debtor
 other than an Administrative Claim, a Priority Tax Claim, an Other Priority Claim, an
 Secured Claim, , or an Intercompany Claim.

               1.123 Holder means a holder of a Claim or Interest, as applicable.

              1.124 Impaired means, when used in reference to a Claim or Interest, a
 Claim or Interest that is impaired within the meaning of section 1124 of the Bankruptcy
 Code.

               1.125 ING Bulker Credit Facility Vessels means collectively the vessels
 Trade Quest, Trade Spirit, Trade Unity, Trade Prosperity, and Trade Resource.

               1.126 ING Offshore Credit Facility Vessels means collectively the vessels
 Toisa Serenade, Toisa Warrior, and Toisa Sonata.

              1.127 Initial Distribution means the first distribution that either the
 Debtors or the Reorganized Debtors, as applicable, makes to holders of Allowed Claims.

             1.128 Intercompany Claim means any and all Claims of a Debtor against
 another Debtor or non-Debtor affiliate.

             1.129 Intercompany Interest means an Interest in a Debtor held by
 another Debtor.


                                             14
17-10184-scc    Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19        Main Document
                                        Pg 22 of 60


               1.130 Interest means any equity security, including a limited liability
 company membership interest, in a Debtor as defined in section 101(16) of the
 Bankruptcy Code, including all issued, unissued, authorized or outstanding shares of
 capital stock of the Debtors, together with any warrants, options or contractual rights to
 purchase or acquire such equity securities at any time and all rights arising with respect
 thereto.

               1.131 Lien has the meaning set forth in section 101(37) of the Bankruptcy
 Code.

            1.132 Management Companies means collectively Sealion Shipping, Ltd.,
 Marine Management Services M.C., and Marine Management Bulk Services Inc.

               1.133 NBG Credit Facility Vessel means the vessel United Fortitude.

             1.134 Newbuild Auction means the auction for the sale of the NewBuild
 Tanker Credit Facility and the Newbuild Tanker Contracts to be held in accordance
 with the Newbuild Tanker Sale and Bid Procedures.

               1.135 Newbuild Tanker Construction Contracts means the contracts for
 the construction of the Newbuild Tanker Credit Facility Vessels with China Shipping
 Industry Co., Ltd. and China Shipping Industry (Jiangsu) Co., Ltd. to be listed in the
 Plan Supplement.

                 1.136 Newbuild Tanker Credit Facility means that certain senior secured
 credit facility, dated as of June 14, 2016, utilized to finance the construction of the
 Newbuilding Tanker Credit Facility Vessels, which has a term of seven (7) years post-
 delivery or up to 9.5 years from signing, and a rate of Libor + 1.95% for the Citi tranche
 and 4.35% fixed for the Cexim tranche. The unpaid principal balance on the
 Newbuilding Tanker Facility is approximately $24,034,500.

              1.137 Newbuild Tanker Credit Facility Claims means means all Claims
 outstanding under the Newbuild Tanker Credit Facility, whether such Claims are
 secured or undersecured as of the Petition Date.

               1.138 Newbuild Tanker Credit Facility Vessels means six (6) vessels:
 three (3) Aframax tankers and (3) Suezmax tankers currently being built by China
 Shipping.

                1.139 Newbuild Tanker Purchase Agreement means one or more asset
 purchase agreements, in form and substance reasonably acceptable to the Debtors, by
 and between Toisa, as seller, and the Purchaser, as buyer, which provides for the sale of
 the NewBuild Tanker Credit Facility and the Newbuild Tanker Contracts, or such other
 asset purchase agreement submitted at or prior to the Newbuild Auction and
 determined by the Debtors pursuant to the Newbuild Tanker Sale and Bid Procedures
 to reflect the highest or otherwise best offer for such assets.

            1.140 Newbuild Tanker Purchaser means one or more purchasers under a
 Newbuild Tanker Purchaser Agreement.



                                             15
17-10184-scc    Doc 281   Filed 08/15/17 Entered 08/15/17 18:56:19       Main Document
                                       Pg 23 of 60


             1.141 Newbuild Tanker Sale and Bid Procedures means the sale, bid, and
 Newbuild Auction procedures set forth and described in the Newbuild Tanker Sale and
 Bid Procedures Order.

             1.142 Newbuild Tanker Sale and Bid Procedures Order means an order of
 the Bankruptcy Court that among other things establishes procedures for the Newbuild
 Auction and a date for the Confirmation Hearing, including the hearing on the
 Newbuild Tanker Sale Transaction.

            1.143 Newbuild Tanker Sale Proceeds means all proceeds for the
 Newbuild Tanker Sale Transaction.

             1.144 Newbuild Tanker Sale Transaction means the sale of the Newbuild
 Tanker Credit Facility and the Newbuild Tanker Contracts pursuant to the Plan and the
 Newbuild Tanker Purchase Agreement.

               1.145 Oceangoing Auction means the auction for the sale of Toisa’s
 equity interests in Debtors Trade and Transport, Inc., United Dynamic, Inc., United
 Emblem, Inc., and United Ideal, Inc., to be held in accordance with the Oceangoing
 Equity Sale and Bid Procedures.

                1.146 Oceangoing Equity Purchase Agreement means one or more asset
 purchase agreements, in form and substance reasonably acceptable to the Debtors, by
 and among Toisa, as seller, and the Oceangoing Equity Purchaser, as buyer, which
 provides for the sale of Toisa’s equity interests in Debtors Trade and Transport, Inc.,
 United Dynamic, Inc., United Emblem, Inc., and United Ideal, Inc., or such other asset
 purchase agreement submitted at or prior to the Oceangoing Equity Auction and
 determined by the Debtors pursuant to the Oceangoing Equity Sale and Bid Procedures
 to reflect the highest or otherwise best offer for such assets.

             1.147 Oceangoing Equity Purchaser means one or more purchasers under
 an Oceangoing Equity Purchaser Agreement.

              1.148 Oceangoing Equity Sale and Bid Procedures means the sale, bid,
 and Oceangoing Auction procedures set forth and described in the Oceangoing Sale
 and Bid Procedures Order.

              1.149 Oceangoing Equity Sale and Bid Procedures Order means an order
 of the Bankruptcy Court that among other things establishes procedures for the
 Oceangoing Auction and a date for the Confirmation Hearing, including the hearing on
 the Oceangoing Equity Sale Transaction.

             1.150 Oceangoing Equity Sale Proceeds means all proceeds for the
 Oceangoing Equity Sale Transaction.

               1.151 Oceangoing Equity Sale Transaction means the sale of Toisa’s
 equity interests in Debtors Trade and Transport, Inc., United Dynamic, Inc., United
 Emblem, Inc., and United Ideal, Inc. pursuant to the Plan and the Oceangoing Equity
 Purchase Agreement.



                                            16
17-10184-scc    Doc 281     Filed 08/15/17 Entered 08/15/17 18:56:19         Main Document
                                         Pg 24 of 60


              1.152 Oceangoing Minimum Working Capital means a minimum
 operating Cash level of $1,000,000 per vessel.

               1.153 Oceangoing Working Capital Contribution means the requirement
 that any Oceangoing Equity Purchaser capitalize Reorganized Trade and Transport
 with $12 million to be contributed to the Reorganized Oceangoing Debtors as working
 capital.

                1.154 Offshore Credit Facility Vessels means collectively BNP Credit
 Facility Vessels, Citi Offshore Facility Vessels, Citizens I Credit Facility Vessel, Citizens
 II Credit Facility Vessel, Commonwealth Bank of Australia Credit Facility Vessel, Credit
 Agricole Offshore Credit Facility Vessels, Danish Ship Offshore Credit Facility Vessels,
 DNB Offshore Credit Facility Vessels, DVB Credit Facility Vessels, ING Offshore Credit
 Facility Vessels, and Wells Fargo Credit Facility Vessel.

               1.155 Offshore Minimum Working Capital means a minimum operating
 Cash level of an amount to be determined per vessel before any cash flow sweep will
 take place for any Amended and Restated Offshore Facility.

              1.156 Other Priority Claim means any Claim accorded priority in right of
 payment under section 507(a) of the Bankruptcy Code, other than an Administrative
 Claim or Priority Tax Claim.

                 1.157 Person means an individual, corporation, partnership, joint venture,
 association, joint stock company, limited liability company, limited liability partnership,
 trust, estate, unincorporated organization, or other entity.

               1.158 Petition Date means January 29, 2017.

               1.159 Plan means this Chapter 11 plan of reorganization, including the
 Exhibits and all supplements, appendices, and schedules hereto, either in its current
 form or as the same may be altered, amended, supplemented, or modified from time to
 time.

               1.160 Plan Supplement means the compilation of documents and forms
 of documents, schedules and exhibits to the Plan to be filed by the Debtors, in a form
 mutually acceptable to the Debtors and the parties affected by the particular document,
 containing, among other things, the Oceangoing Equity Purchase Agreement, the
 Newbuild Tanker Purchase Agreement, the Amended and Restated Credit Facilities,
 and information required to be disclosed in accordance with section 1129(a)(5) of the
 Bankruptcy Code, provided that, through that Effective Date, the Debtors shall have the
 right to amend any schedules, exhibits or amendments to the Oceangoing Equity
 Purchase Agreement, the Newbuild Tanker Purchase Agreement, the Amended and
 Restated Credit Facilities, and the other documents contained in, and exhibits to, the
 Plan Supplement. The Plan Supplement shall be filed no later than ten (10) days prior
 to the deadline set to object to the Plan.

              1.161 Prepetition Cash Reconciliation means the full and complete
 accounting and reconciliation to be delivered to the secured vessel lenders, in writing,



                                              17
17-10184-scc    Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19       Main Document
                                        Pg 25 of 60


 of all cash receipts, disbursements and transfers of their cash collateral (including
 updated cash balances in any deposit accounts) with respect to the Debtors and the
 Management Companies from August 31, 2016 through June 30, 2017.

               1.162 Priority Tax Claim means any Claim of a governmental unit of the
 kind specified in section 507(a)(8) of the Bankruptcy Code.

              1.163 Professional means (a) any professional employed in these Chapter
 11 Cases pursuant to sections 327, 328, 363, or 1103 of the Bankruptcy Code or otherwise
 and (b) any professional or other entity seeking compensation or reimbursement of
 expenses in connection with the Chapter 11 Cases pursuant to section 503(b)(4) of the
 Bankruptcy Code.

               1.164 Professional Compensation - Accrued means, at any date, and
 regardless of whether such amounts are billed or unbilled, all of a Professional's
 accrued and unpaid fees (including success fees) and reimbursable expenses for services
 rendered in the Chapter 11 Cases through and including such date, whether or not such
 Professional has filed a fee application for payment of such fees and expenses, (i) all to
 the extent that any such fees and expenses have not been previously paid (regardless of
 whether a fee application has been filed for any such amount) and (ii) after applying
 any retainer that has been provided by the Debtors to such Professional and not
 previously applied. No amount of a Professional's fees and expenses denied under a
 Final Order shall constitute Accrued Professional Compensation.

               1.165 Professional Fee Claim means an Administrative Claim of a
 Professional for compensation for services rendered or reimbursement of costs,
 expenses, or other charges incurred on or after the Petition Date and prior to and
 including the Effective Date.

              1.166 Professional Fee Escrow Account means an escrow account to be
 funded with the Professional Fee Reserve Amount by the Debtors and Reorganized
 Debtors on the Effective Date solely for the purpose of paying all Allowed Professional
 Fee Claims.

              1.167 Professional Fee Reserve Amount means the aggregate Accrued
 Professional Compensation through the Effective Date as estimated by the Professionals
 in accordance with Article II.

               1.168 Pro Rata means the proportion that an Allowed Claim in a
 particular Class bears to the aggregate amount of Allowed Claims and Disputed Claims
 within such Class.

               1.169 Proof of Claim means a written proof of Claim filed against any
 Debtor in the Chapter 11 Cases.

               1.170 Released Party means collectively and in each case in their capacity
 as such, each of the following: (a) the Debtors; (b) the Oceangoing Equity Purchaser;
 (c) the Newbuild Tanker Purchaser; and (d) with respect to each of the foregoing
 persons in the foregoing clauses, such Person's current and former subsidiaries,



                                             18
17-10184-scc    Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19        Main Document
                                        Pg 26 of 60


 Affiliates, members, directors, officers, principals, agents, financial advisors,
 restructuring advisors, accountants, investment bankers, consultants, attorneys,
 employees, partners, equity holders, representatives, and other professionals, in each
 case, only in their capacity as such.

                1.171 Releasing Parties means collectively and in each case in their
 capacity as such: each holder of a Claim or an Interest, and with respect to each of the
 foregoing entities, such entities current and former subsidiaries, Affiliates, members,
 directors, officers, principals, agents, financial advisors, restructuring advisors,
 accountants, investment bankers, consultants, attorneys, employees, partners, equity
 holders, representatives, and other professionals, in each case, only in their capacity as
 such

             1.172 Reorganized Citi Tanker Debtors means collectively Reorganized
 United Journey, Inc. and Reorganized United Seas, Inc.

             1.173 Reorganized Commerzbank I Debtors means collectively
 Reorganized United Banner, Inc., Reorganized United Courage, Inc., and Reorganized
 United Ambassador, Inc.

               1.174 Reorganized Commerzbank II Debtor means Reorganized United
 Honor, Inc.

              1.175 Reorganized Credit Agricole Tanker Debtor means Reorganized
 Trade Industrial Development Corporation.

             1.176 Reorganized Danish Ship Bulker Debtors means collectively
 Reorganized Trade Vision, Inc. and Reorganized Trade Will, Inc.

             1.177 Reorganized Danish Ship Tanker Debtors means collectively
 Reorganized United Kalavryta, Inc. and Reorganized United Leadership, Inc.

                1.178 Reorganized Debtors means collectively Reorganized Trade
 Prosperity, Inc.; Reorganized Toisa Limited; Reorganized United Courage, Inc.;
 Reorganized Trade Vision, Inc.; Reorganized United Journey, Inc.; Reorganized United
 Kalavryta, Inc.; Reorganized Trade Sky, Inc.; Reorganized Trade Industrial
 Development Corporation; Reorganized United Honor, Inc.; Reorganized Trade Will,
 Inc.; Reorganized United Leadership Inc.; Reorganized United Seas, Inc.; Reorganized
 United Dynamic, Inc.; Reorganized United Emblem, Inc.; Reorganized United Ideal
 Inc.; Reorganized Trade Unity, Inc.; Reorganized Trade Quest, Inc.; Reorganized
 Trade Spirit, Inc.; Reorganized Trade Resource, Inc.; Reorganized United Ambassador,
 Inc.; Reorganized Edgewater Offshore Shipping, Ltd.; Reorganized United Banner, Inc.;
 Reorganized Toisa Horizon, Inc.; and Reorganized Trade and Transport Inc.

             1.179 Reorganized DNB Tanker Debtors means Reorganized United
 Dynamic, Inc., Reorganized United Emblem, Inc., and Reorganized United Ideal, Inc.




                                             19
17-10184-scc    Doc 281     Filed 08/15/17 Entered 08/15/17 18:56:19        Main Document
                                         Pg 27 of 60


               1.180 Reorganized ING Bulker Debtors means collectively, Reorganized
 trade Unity, inc, Reorganized Trade Quest, Inc., Reorganized Trade Spirit, Inc.,
 Reorganized Trade Resource, Inc., and Reorganized Trade Prosperity, Inc.

               1.181 Reorganized NBG Debtor means Reorganized United Fortitude, Inc.

              1.182 Reorganized Oceangoing Vessel Debtors means collectively the
 Reorganized Citi Tanker Debtors, Reorganized Commerzbank I Debtors, Reorganized
 Commerzbank II Debtor, Reorganized Credit Agricole Tanker Debtor, Reorganized
 Danish Ship Bulker Debtors, Reorganized Danish Ship Tanker Debtors, Reorganized
 DNB Tanker Debtors, Reorganized ING Bulker Debtors, and Reorganized NBG Debtor.

               1.183 Reorganized Toisa means Reorganized Toisa Limited.

              1.184 Reorganized Trade and Transport means Reorganized Trade and
 Transport Inc.

             1.185 Reorganized Trade and Transport Enterprise means collectively
 Reorganized Trade and Transport and the Reorganized Oceangoing Vessel Debtors.

                1.186 Retained Actions means all claims, Causes of Action, rights of
 action, suits and proceedings, whether in law or in equity, whether known or unknown,
 which any Debtor or any Debtor's Estate may hold against any Person, including,
 without limitation, (a) claims and Causes of Action brought prior to the Effective Date,
 (b) claims and Causes of Action against any Persons for failure to pay for products or
 services provided or rendered by any of the Debtors, (c)claims and Causes of Action
 seeking the recovery of any of the Debtors' or the Reorganized Debtors' accounts
 receivable or other receivables or rights to payment created or arising in the ordinary
 course of any of the Debtors' or the Reorganized Debtors' businesses, including, without
 limitation, claim overpayments and tax refunds, (d) all Avoidance Actions, and (e) any
 such claims, Causes of Action, rights of action, suits or proceedings listed in the
 Disclosure Statement or any schedules filed by the Debtors in these cases, if any;
 provided, however, that Retained Actions shall not include those claims, Causes of
 Action, rights of action, suits and proceedings, whether in law or in equity, whether
 known or unknown, released under Article X herein.

              1.188 Schedules means the Debtors' schedules of assets and liabilities and
 statements of financial affairs, filed under section 521 of the Bankruptcy Code and the
 Bankruptcy Rules, as amended, supplemented, or modified.

                1.189 Secured Claim means a Claim that is secured by a Lien on property
 in which a Debtor's Estate has an interest or that is subject to setoff under section 553 of
 the Bankruptcy Code, to the extent of the value of the Claim Holder's interest in the
 applicable Estate's interest in such property or to the extent of the amount subject to
 setoff, as applicable, as determined pursuant to section 506(a) of the Bankruptcy Code
 or, in the case of setoff, pursuant to section 553 of the Bankruptcy Code.

               1.190 Toisa means Debtor Toisa Limited.




                                              20
17-10184-scc    Doc 281     Filed 08/15/17 Entered 08/15/17 18:56:19         Main Document
                                         Pg 28 of 60


              1.191 Toisa Equity Contribution means a $1,000,000 new capital
 investment from the current owner of Toisa to retain ownership of Toisa.

               1.192 T&T means Debtor Trade and Transport Inc.

             1.193 Unimpaired means a Claim or Interest that is not impaired within
 the meaning of section 1124 of the Bankruptcy Code.

               1.194 Wells Fargo Credit Facility Vessel means the vessel Toisa Crest.

                 Rules Of Interpretation And Computation Of Time. For purposes of this Plan,
 unless otherwise provided herein: (a) whenever from the context it is appropriate, each
 term, whether stated in the singular or the plural, shall include both the singular and
 the plural; (b) unless otherwise provided in this Plan, any reference in this Plan to a
 contract, instrument, release, or other agreement or document being in a particular form
 or on particular terms and conditions means that such document shall be substantially
 in such form or substantially on such terms and conditions; (c) any reference in this Plan
 to an existing document or schedule filed or to be filed means such document or
 schedule, as it may have been or may be amended, modified, or supplemented
 pursuant to this Plan; (d) any reference to an entity as a Holder of a Claim or Interest
 includes that entity's successors and assigns; (e) all references in this Plan to Sections
 and Articles are references to Sections and Articles of or to this Plan; (f) the words
 "herein," "hereunder," and "hereto" refer to this Plan in its entirety rather than to a
 particular portion of this Plan; (g) captions and headings to Articles and Sections are
 inserted for convenience of reference only and are not intended to be a part of or to
 affect the interpretation of this Plan; (h) subject to the provisions of any contract,
 certificates of incorporation, by-laws, instrument, release, or other agreement or
 document entered into in connection with this Plan, the rights and obligations arising
 under this Plan shall be governed by, and construed and enforced in accordance with,
 federal law, including the Bankruptcy Code and Bankruptcy Rules; (i) the rules of
 construction set forth in section 102 of the Bankruptcy Code shall apply; (j) in
 computing any period of time prescribed or allowed by this Plan, the provisions of
 Bankruptcy Rule 9006(a) shall apply; (k) "including" means "including without
 limitation;" and (l) with reference to any distribution under this Plan, "on" a date means
 on or as soon as reasonably practicable after that date.

                Exhibits. All Exhibits are incorporated into and are a part of this Plan as if
 set forth in full herein, and, to the extent not annexed hereto, such Exhibits shall be filed
 with the Bankruptcy Court no later than ten (10) Business Days prior to the hearing at
 which the Bankruptcy Court considers whether to confirm the Plan. Holders of Claims
 and Interests may obtain a copy of the Exhibits upon written request to the Debtors.
 Upon their filing, the Exhibits may be inspected (a) in the office of the clerk of the
 Bankruptcy Court or its designee during normal business hours; (b) on the Bankruptcy
 Court's website at http://nysb.uscourts.gov (registration required) or (c) at our noticing
 agent's website at http://www.kccllc.net/toisa. The documents contained in the
 Exhibits shall be approved by the Bankruptcy Court pursuant to the Confirmation
 Order.




                                              21
17-10184-scc    Doc 281     Filed 08/15/17 Entered 08/15/17 18:56:19        Main Document
                                         Pg 29 of 60


                Controlling Document. In the event of an inconsistency between the Plan
 and the Plan Supplement, the terms of the relevant document in the Plan Supplement
 shall control (unless stated otherwise in such Plan Supplement document). The
 provisions of the Plan and of the Confirmation Order shall be construed in a manner
 consistent with each other so as to effect the purposes of each; provided that, if there is
 determined to be any inconsistency between any Plan provision and any provision of
 the Confirmation Order that cannot be so reconciled, then, solely to the extent of such
 inconsistency, the provisions of the Confirmation Order shall govern and any such
 provision of the Confirmation Order shall be deemed a modification of the Plan and
 shall control and take precedence.

                                        ARTICLE II

               ADMINISTRATIVE EXPENSE AND PRIORITY CLAIMS

               In accordance with section 1123(a)(1) of the Bankruptcy Code,
 Administrative Claims and Priority Tax Claims are not classified and are not entitled to
 vote on this Plan.

                 2.1     Administrative Claims. On, or as soon as reasonably practicable
 after, the later of (a) the Effective Date, (b) the date on which an Administrative Claim
 becomes an Allowed Administrative Claim, or (c) the date on which an Allowed
 Administrative Claim becomes payable under any agreement relating thereto, each
 Holder of such Allowed Administrative Claim shall receive, in full and final satisfaction,
 settlement, release, and discharge of, and in exchange for, such Allowed Administrative
 Claim, Cash equal to the unpaid portion of such Allowed Administrative Claim.

                2.2    Priority Tax Claims. The legal and equitable rights of the Holders
 of Priority Tax Claims are Unimpaired by the Plan. Unless the Holder of an Allowed
 Priority Tax Claim and the Debtors agree to a different treatment, on the Effective Date,
 each Holder of an Allowed Priority Tax Claim shall have such Claim Reinstated and
 each Holder of an Allowed Priority Tax Claim shall receive Cash in an amount equal to
 such Allowed Priority Tax Claim on, or as soon thereafter as is reasonably practicable,
 the later of the Effective Date, the date such Allowed Priority Tax Claim is due and
 payable in the ordinary course, or as otherwise permitted under Section 1129(a)(9) of
 the Bankruptcy Code.

               2.3    Professional Fee Claims.

                       (a)    Professionals shall submit final fee applications seeking
 approval of all Professional Fee Claims no later than thirty (30) days after the Effective
 Date. These applications remain subject to Bankruptcy Court approval under the
 standards established by the Bankruptcy Code, including the requirements of sections
 327, 328, 330, 331, 363, 503(b) and 1103 of the Bankruptcy Code, as applicable. Any
 unpaid amounts to Professionals shall be made upon entry of an order approving such
 Professional Fee Claims.




                                              22
17-10184-scc         Doc 281       Filed 08/15/17 Entered 08/15/17 18:56:19       Main Document
                                                Pg 30 of 60


                      (b)    The Reorganized Debtors are authorized to pay
 compensation for services rendered or reimbursement of expenses incurred after the
 Effective Date in the ordinary course without the need for Bankruptcy Court Approval.

                      (c)    On the Effective Date, the Debtors or the Reorganized
 Debtors will establish and fund the Professional Fee Escrow Account with Cash equal to
 the Professional Fee Reserve Amount.

                                                   ARTICLE III

          CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

                3.1    Classification And Settlement. Pursuant to section 1122 of the
 Bankruptcy Code, set forth below is a designation of Classes of Claims against and
 Interests in the Debtors. A Claim or Interest is placed in a particular Class only to the
 extent that the Claim or Interest falls within the description of that Class and is
 classified in other Classes to the extent that any portion of the Claim or Interest falls
 within the description of such other Classes. A Claim is also placed in a particular Class
 for the purpose of receiving distributions pursuant to this Plan only to the extent that
 such Claim is an Allowed Claim in that Class and such Claim has not been paid,
 released, or otherwise settled prior to the Effective Date. Subject to the payment of
 Professional Fees and any other joint and several obligations of the Debtors, each
 Debtor shall be responsible for satisfying the Claims and Administrative Claims against
 and Interests in such Debtor from such Debtor's assets.

               In accordance with section 1123 of the Bankruptcy Code and Bankruptcy
 Rule 9019, and in consideration for the distributions and other benefits provided
 pursuant to the Plan, the provisions of the Plan shall constitute a good faith
 compromise of all Claims, Interests and controversies relating to the contractual, legal
 and subordination rights that a holder of a Claim or Interest may have with respect to
 any Allowed Claim or Interest, or any distribution to be made on account of such
 Allowed Claim or Interest. The entry of the Confirmation Order shall constitute the
 Bankruptcy Court's approval of the compromise or settlement of all such Claims,
 Interests and controversies, as well as a finding by the Bankruptcy Court that such
 compromise or settlement is in the best interests of the Debtors, their Estates and
 holders of Claims and Interests and is fair, equitable and reasonable.

                3.2     Summary of Classification. The following table designates the
 Classes of Claims and specifies which of those Classes are (a) Impaired or Unimpaired
 by the Plan, (b) entitled to vote to accept or reject the Plan in accordance with section
 1126 of the Bankruptcy Code and (c) deemed to reject the Plan. In accordance with
 section 1123(a)(1) of the Bankruptcy Code, Administrative Claims and Priority Tax
 Claims have not been classified and, thus, are excluded from the Classes of Claims and
 Interests set forth in this Section 3. All of the potential Classes for the Debtors are set
 forth herein. Certain of the Debtors may not have holders of Claims or Interests in a
 particular Class or Classes, and such Classes shall be treated as set forth in Section 3.3.
 Class                                    Designation             Impairment     Entitled to Vote
 Class 1 ...................................
                        Other Priority Claims                    Unimpaired    No (deemed to
                                                                               accept)


                                                        23
17-10184-scc        Doc 281       Filed 08/15/17 Entered 08/15/17 18:56:19   Main Document
                                               Pg 31 of 60


 Class                                    Designation        Impairment    Entitled to Vote
 Class 2 ...................................
                        Existing Citi Tanker Credit         Impaired      Yes
                        Facility Claims
 Class 3…....... Existing Commerzbank I Credit              Impaired      Yes
                        Facility Claims
 Class 4…....... Existing Commerzbank II Credit             Impaired      Yes
                        Facility Claims
 Class 5…....... Existing Credit Agricole Tanker            Impaired      Yes
                        Credit Facility Claims
 Class 6…....... Existing Danish Ship Bulker                Impaired      Yes
                        Credit Facility Claims
 Class 7…....... Existing Danish Ship Tanker                Impaired      Yes
                        Credit Facility Claims
 Class 8…....... Existing DNB Tanker Credit                 Impaired      Yes
                        Facility Claims
 Class 9…....... Existing ING Bulker Credit                 Impaired      Yes
                        Facility Claims
 Class 10…..... Existing NBG Credit Facility                Impaired      Yes
                        Claims
 Class 11…..... Newbuild Tanker Credit Facility             Impaired      Yes
                        Claims
 Class 12......... Existing DVB Credit Facility             Impaired      Yes
                        Claims
 Class 13…..... Existing Citizens I Credit Facility         Impaired      Yes
                        Claims
 Class 14…..... Toisa Offshore Secured Claims               Impaired      Yes
 Class 15 .................................
                        G550 Airplane Credit Facility       Unimpaired    No (deemed to
                        Claims                                            accept)
 Class 16 .................................
                        T&T General Unsecured Claims        Unimpaired    No (deemed to
                                                                          accept)
 Class 17 .................................
                       Toisa General Unsecured Claims       Unimpaired    No (deemed to
                                                                          accept)
 Class 18 .................................
                       Intercompany Claims                  Unimpaired    No (deemed to
                                                                          accept)
 Class 19 .................................
                       Interests in Toisa                   Unimpaired    No (deemed to
                                                                          accept)
 Class 20 .................................
                       Intercompany Interests in Other      Unimpaired    No (deemed to
                       Debtors                                            accept)

                  3.3      Treatment Of Classes.

                           (a)     Class 1 – Other Priority Claims

                            (i)    Claims In Class: Class 1 consists of all Other Priority
 Claims that may exist against the Debtors.

                               (ii)   Treatment: On, or as soon as reasonably practicable
 after, (a) the Effective Date if such Other Priority Claim is an Allowed Other Priority
 Claim on the Effective Date or (b) the date on which such Other Priority Claim becomes


                                                   24
17-10184-scc     Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19           Main Document
                                         Pg 32 of 60


 an Allowed Other Priority Claim, each Holder of an Allowed Class 1 Other Priority
 Claim shall receive, in full and final satisfaction, settlement, release, and discharge of,
 and in exchange for, such Allowed Other Priority Claim, Cash equal to the unpaid
 portion of such Allowed Other Priority Claim.

                            (iii) Voting: Claims in Class 1 are Unimpaired, and the
 Holders of Allowed Class 1 Other Priority Claims are conclusively deemed to have
 accepted this Plan pursuant to section 1126(f) of the Bankruptcy Code. Therefore, the
 Holders of Class 1 Other Priority Claims are not entitled to vote to accept or reject this
 Plan.

                      (b)     Class 2 – Existing Citi Tanker Credit Facility Claims

                              (i)    Claims In Class: Class 2 consists of all Citi Tanker
 Credit Facility Claims.

                               (ii)    Treatment: On, or as soon as reasonably practicable
 after, the Effective Date, each Holder of an Allowed Class 2 Citi Tanker Credit Facility
 Claim shall receive, in full and final satisfaction, settlement, release, and discharge of,
 and in exchange for, such claims, its pro rata share of the loans under the Amended and
 Restated Citi Tanker Credit Facility, in addition to any terms of treatment that the Court
 orders. Under the Amended and Restated Citi Tanker Credit Facility the balances and
 interest rates under the Amended and Restated Citi Tanker Credit Facility will remain
 unchanged from those in effect under the Existing Citi Tanker Credit Facility; however,
 the maturity shall be extended to five (5) years from the Effective Date; interest is to be
 paid by the earnings from the Citi Tanker Vessels, and pooled to pay interest
 deficiencies, if any, relating to the Amended and Restated Oceangoing Facilities. 50% of
 any excess cash flow shall be swept on a quarterly basis to repay principal on the
 Amended and Restated Citi Tanker Credit Facility subject to a consolidated cash
 balance at the Reorganized Trade and Transport Enterprise in excess of the Oceangoing
 Minimum Working Capital amount. Such cash flow sweeps shall replace the
 prepetition amortization schedule.

                              (iii) for the avoidance of doubt, all Toisa guarantees
 relating to the Existing Citi Tanker Facility shall be fully released as of the Effective
 Date.

                              (iv) Voting: Claims in Class 2 are Impaired. Pursuant to
 section 1126 of the Bankruptcy Code, each Holder of an Allowed Class 2 Citi Tanker
 Facility Claim is entitled to vote to accept or reject this Plan.

                      (c)     Class 3 – Existing Commerzbank I Credit Facility Claims

                         (i)     Claims In Class: Class 3 consists of all Existing
 Commerzbank I Credit Facility Claims.

                              (ii)  Treatment: On, or as soon as reasonably practicable
 after, the Effective Date, each Holder of an Allowed Class 3 Existing Commerzbank I
 Credit Facility Claim shall receive, in full and final satisfaction, settlement, release, and



                                               25
17-10184-scc     Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19          Main Document
                                         Pg 33 of 60


 discharge of, and in exchange for, such claims, its pro rata share of the loans under the
 Amended and Restated Commerzbank I Credit Facility, in addition to any terms of
 treatment that the Court orders. Under the Amended and Restated Commerzbank I
 Credit Facility the balances and interest rates under the Amended and Restated
 Commerzbank I Credit Facility will remain unchanged from those in effect under the
 Existing Commerzbank I Credit Facility; however, the maturity shall be extended to
 five (5) years from the Effective Date; interest is to be paid by the earnings from the
 Commerzbank I Vessels , and pooled to pay interest deficiencies, if any relating to the
 Amended and Restated Oceangoing Facilities. 50% of any excess cash flow shall be
 swept on a quarterly basis to repay principal on the Amended and Restated
 Commerzbank I Credit Facility subject to a consolidated cash balance at the
 Reorganized Trade and Transport Enterprise in excess of the Oceangoing Minimum
 Working Capital amount. Such cash flow sweep shall replace the prepetition
 amortization schedule.

                             (iii) for the avoidance of doubt, all Toisa guarantees
 relating to the Existing Commerzbank I Facility shall be fully released as of the Effective
 Date.

                               (iv) Voting: Claims in Class 3 are Impaired. Pursuant to
 section 1126 of the Bankruptcy Code, each Holder of an Allowed Class 3 Commerzbank
 I Facility Claim is entitled to vote to accept or reject this Plan.

                      (d)     Class 4 – Existing Commerzbank II Credit Facility Claims

                          (i)    Claims In Class: Class 4 consists of all Existing
 Commerzbank II Facility Claims.

                              (ii)  Treatment: On, or as soon as reasonably practicable
 after, the Effective Date, each Holder of an Allowed Class 4 Existing Commerzbank II
 Credit Facility Claim shall receive, in full and final satisfaction, settlement, release, and
 discharge of, and in exchange for, such claims, its pro rata share of the loans under the
 Amended and Restated Commerzbank II Credit Facility, in addition to any terms of
 treatment that the Court orders. Under the Amended and Restated Commerzbank II
 Credit Facility the balances and interest rates under the Amended and Restated
 Commerzbank II Credit Facility will remain unchanged from those in effect under the
 Existing Commerzbank II Credit Facility; however, the maturity shall be extended to
 five (5) years from the Effective Date; interest is to be paid by the earnings from the
 Commerzbank II Vessels, and pooled to pay interest deficiencies, if any relating to the
 Amended and Restated Oceangoing Facilities. 50% of any excess cash flow shall be
 swept on a quarterly basis to repay principal on the Amended and Restated
 Commerzbank II Credit Facility subject to a consolidated cash balance at the
 Reorganized Trade and Transport Enterprise in excess of the Oceangoing Minimum
 Working Capital amount. Such cash flow sweep shall replace the prepetition
 amortization schedule.

                             (iii) for the avoidance of doubt, all Toisa guarantees
 relating to the Existing Commerzbank II Facility shall be fully released as of the
 Effective Date.


                                               26
17-10184-scc    Doc 281     Filed 08/15/17 Entered 08/15/17 18:56:19         Main Document
                                         Pg 34 of 60


                            (iv) Voting: Claims in Class 4 are Impaired. Pursuant to
 section 1126 of the Bankruptcy Code, each Holder of an Allowed Class 4 Existing
 Commerzbank II Facility Claim is entitled to vote to accept or reject this Plan.

                      (e)    Class 5 – Existing Credit Agricole Tanker Credit Facility Claims

                           (i)     Claims In Class: Class 5 consists of all Existing Credit
 Agricole Tanker Credit Facility Claims.

                               (ii)   Treatment: On, or as soon as reasonably practicable
 after, the Effective Date, each Holder of an Allowed Class 5 Credit Agricole Tanker
 Credit Facility Claim shall receive, in full and final satisfaction, settlement, release, and
 discharge of, and in exchange for, such claims, its pro rata share of the loans under the
 Amended and Restated Credit Agricole Tanker Credit Facility, in addition to any terms
 of treatment that the Court orders. Under the Amended and Restated Credit Agricole
 Tanker Credit Facility the balances and interest rates under the Amended and Restated
 Credit Agricole Tanker Credit Facility will remain unchanged from those in effect
 under the Existing Credit Agricole Tanker Credit Facility; however, the maturity shall
 be extended to five (5) years from the Effective Date; interest is to be paid by the
 earnings from the Credit Agricole Tanker Vessels, and pooled to pay interest
 deficiencies, if any relating to the Amended and Restated Oceangoing Facilities. 50% of
 any excess cash flow shall be swept on a quarterly basis to repay principal on the
 Amended and Restated Credit Agricole Tanker Credit Facility subject to a consolidated
 cash balance at the Reorganized Trade and Transport Enterprise in excess of the
 Oceangoing Minimum Working Capital amount. Such cash flow sweep shall replace
 the prepetition amortization schedule.

                            (iii) Voting: Claims in Class 5 are Impaired. Pursuant to
 section 1126 of the Bankruptcy Code, each Holder of an Allowed Class 5 Existing Credit
 Agricole Tanker Facility Claim is entitled to vote to accept or reject this Plan.

                      (f)    Class 6 – Existing Danish Ship Bulker Credit Facility Claims

                             (i)   Claims In Class: Class 6 consists of all Existing Danish
 Ship Bulker Credit Facility Claims.

                              (ii)    Treatment: On, or as soon as reasonably practicable
 after, the Effective Date, each Holder of an Allowed Class 6 Danish Ship Bulker Credit
 Facility Claim shall receive, in full and final satisfaction, settlement, release, and
 discharge of, and in exchange for, such claims, its pro rata share of the loans under the
 Amended and Restated Danish Ship Bulker Credit Facility, in addition to any terms of
 treatment that the Court orders. Under the Amended and Restated Danish Ship Bulker
 Credit Facility the balances and interest rates under the Amended and Restated Danish
 Ship Bulker Credit Facility will remain unchanged from those in effect under the
 Existing Danish Ship Bulker Credit Facility; however, the maturity shall be extended to
 five (5) years from the Effective Date; interest is to be paid by the earnings from the
 Danish Ship Bulker Vessels, and pooled to pay interest deficiencies, if any relating to
 the Amended and Restated Oceangoing Facilities. 50% of any excess cash flow shall be
 swept on a quarterly basis to repay principal on the Amended and Restated Danish


                                              27
17-10184-scc    Doc 281     Filed 08/15/17 Entered 08/15/17 18:56:19        Main Document
                                         Pg 35 of 60


 Ship Bulker Credit Facility subject to a consolidated cash balance at the Reorganized
 Trade and Transport Enterprise in excess of the Oceangoing Minimum Working Capital
 amount. Such cash flow sweep shall replace the prepetition amortization schedule.

                             (iii) for the avoidance of doubt, all Toisa guarantees
 relating to the Existing Danish Ship Bulker Credit Facility shall be fully released as of
 the Effective Date.

                            (iv) Voting: Claims in Class 6 are Impaired. Pursuant to
 section 1126 of the Bankruptcy Code, each Holder of an Allowed Class 6 Existing
 Danish Ship Bulker Credit Facility Claim is entitled to vote to accept or reject this Plan.

                      (g)    Class 7 – Existing Danish Ship Tanker Credit Facility Claims

                            (i)   Claims In Class: Class 7 consists of all Existing Danish
 Ship Tanker Credit Facility Claims.

                              (ii)   Treatment: On, or as soon as reasonably practicable
 after, the Effective Date, each Holder of an Allowed Class 7 Existing Danish Ship
 Tanker Credit Facility Claim shall receive, in full and final satisfaction, settlement,
 release, and discharge of, and in exchange for, such claims, its pro rata share of the
 loans under the Amended and Restated Danish Ship Tanker Credit Facility, in addition
 to any terms of treatment that the Court orders. Under the Amended and Restated
 Danish Ship Tanker Credit Facility the balances and interest rates under the Amended
 and Restated Danish Ship Tanker Credit Facility will remain unchanged from those in
 effect under the Existing Danish Ship Tanker Credit Facility; however, the maturity
 shall be extended to five (5) years from the Effective Date; interest is to be paid by the
 earnings from the Danish Ship Tanker Vessels, and pooled to pay interest deficiencies, if
 any relating to the Amended and Restated Oceangoing Facilities. 50% of any excess
 cash flow shall be swept on a quarterly basis to repay principal on the Amended and
 Restated Danish Ship Tanker Credit Facility subject to a consolidated cash balance at
 the Reorganized Trade and Transport Enterprise in excess of the Oceangoing Minimum
 Working Capital amount. Such cash flow sweep shall replace the prepetition
 amortization schedule.

                             (iii) for the avoidance of doubt, all Toisa guarantees
 relating to the Existing Danish Ship Tanker Credit Facility shall be fully released as of
 the Effective Date.

                            (iv) Voting: Claims in Class 7 are Impaired. Pursuant to
 section 1126 of the Bankruptcy Code, each Holder of an Allowed Class 7 Danish Ship
 Tanker Credit Facility Claim is entitled to vote to accept or reject this Plan.




                                              28
17-10184-scc    Doc 281     Filed 08/15/17 Entered 08/15/17 18:56:19        Main Document
                                         Pg 36 of 60


                      (h)    Class 8 – Existing DNB Tanker Credit Facility Claims

                            (i)     Claims In Class: Class 8 consists of all Existing DNB
 Tanker Credit Facility Claims.

                              (ii)   Treatment: On, or as soon as reasonably practicable
 after, the Effective Date, each Holder of an Allowed Class 8 DNB Tanker Credit Facility
 Claim shall receive, in full and final satisfaction, settlement, release, and discharge of,
 and in exchange for, such claims, its pro rata share of the loans under the Amended and
 Restated DNB Tanker Credit Facility, in addition to any terms of treatment that the
 Court orders. Under the Amended and Restated DNB Tanker Credit Facility the
 balances and interest rates under the Amended and Restated DNB Tanker Credit
 Facility will remain unchanged from those in effect under the Existing DNB Tanker
 Credit Facility; however, the maturity shall be extended to five (5) years from the
 Effective Date; interest is to be paid by the earnings from the DNB Tanker Vessels, and
 pooled to pay interest deficiencies, if any relating to the Amended and Restated
 Oceangoing Facilities. 50% of any excess cash flow shall be swept on a quarterly basis
 to repay principal on the Amended and Restated DNB Tanker Credit Facility subject to
 a consolidated cash balance at the Reorganized Trade and Transport Enterprise in
 excess of the Oceangoing Minimum Working Capital amount. Such cash flow sweep
 shall replace the prepetition amortization schedule.

                            (iii) for the avoidance of doubt, all Toisa guarantees
 relating to the Existing DNB Tanker Credit Facility shall be fully released as of the
 Effective Date.

                              (iv) Voting: Claims in Class 8 are Impaired. Pursuant to
 section 1126 of the Bankruptcy Code, each Holder of an Allowed Class 8 DNB Tanker
 credit Facility Claim is entitled to vote to accept or reject this Plan.

                      (i)    Class 9 – Existing ING Bulker Credit Facility Claims

                             (i)    Claims In Class: Class 9 consists of all Existing ING
 Bulker Credit Facility Claims.

                              (ii)    Treatment: On, or as soon as reasonably practicable
 after, the Effective Date, each Holder of an Allowed Class 9 Existing ING Bulker Credit
 Facility Claim shall receive, in full and final satisfaction, settlement, release, and
 discharge of, and in exchange for, such claims, its pro rata share of the loans under the
 Amended and Restated ING Bulker Credit Facility, in addition to any terms of
 treatment that the Court orders. Under the Amended and Restated ING Bulker Credit
 Facility the balances and interest rates under the Amended and Restated ING Bulker
 Credit Facility will remain unchanged from those in effect under the Existing ING
 Bulker Credit Facility; however, the maturity shall be extended to five (5) years from
 the Effective Date; interest is to be paid by the earnings from the ING Bulker Vessels,
 and pooled to pay interest deficiencies, if any relating to the Amended and Restated
 Oceangoing Facilities. 50% of any excess cash flow shall be swept on a quarterly basis
 to repay principal on the Amended and Restated ING Bulker Credit Facility subject to a
 consolidated cash balance at the Reorganized Trade and Transport Enterprise in excess


                                             29
17-10184-scc    Doc 281     Filed 08/15/17 Entered 08/15/17 18:56:19          Main Document
                                         Pg 37 of 60


 of the Oceangoing Minimum Working Capital amount. Such cash flow sweep shall
 replace the prepetition amortization schedule.

                             (iii) for the avoidance of doubt, all Toisa guarantees
 relating to the Existing ING Bulker Credit Facility shall be fully released as of the
 Effective Date.

                              (iv) Voting: Claims in Class 9 are Impaired. Pursuant to
 section 1126 of the Bankruptcy Code, each Holder of an Allowed Class 9 ING Bulker
 Facility Claim is entitled to vote to accept or reject this Plan.

                      (j)    Class 10 – Existing NBG Credit Facility Claims

                             (i)    Claims In Class: Class 10 consists of all Existing NBG
 Credit Facility Claims.

                              (ii)    Treatment: On, or as soon as reasonably practicable
 after, the Effective Date, each Holder of an Allowed Class 10 NBG Existing Credit
 Facility Claim shall receive, in full and final satisfaction, settlement, release, and
 discharge of, and in exchange for, such claims, its pro rata share of the loans under the
 Amended and Restated NBG Credit Facility, in addition to any terms of treatment that
 the Court orders. Under the Amended and Restated NBG Credit Facility the balances
 and interest rates under the Amended and Restated NBG Credit Facility will remain
 unchanged from those in effect under the Existing NBG Credit Facility; however, the
 maturity shall be extended to five (5) years from the Effective Date; interest is to be
 paid by the earnings from the NBG Vessels, and pooled to pay interest deficiencies, if
 any relating to the Amended and Restated Oceangoing Facilities. 50% of any excess
 cash flow shall be swept on a quarterly basis to repay principal on the Amended and
 Restated NBG Credit Facility subject to a consolidated cash balance at the Reorganized
 Trade and Transport Enterprise in excess of the Oceangoing Minimum Working Capital
 amount. Such cash flow sweep shall replace the prepetition amortization schedule.

                              (iii) Voting: Claims in Class 10 are Impaired. Pursuant to
 section 1126 of the Bankruptcy Code, each Holder of an Allowed Class 10 Existing NBG
 Credit Facility Claim is entitled to vote to accept or reject this Plan.

                      (k)    Class 11 – Newbuild Tanker Credit Facility Claims

                             (i)    Claims In Class: Class 11 consists of all Newbuild
 Credit Facility Claims.

                               (ii)   Treatment: On, or as soon as reasonably practicable
 after, the Effective Date and the closing of the Newbuild Tanker Sale Transaction, each
 Holder of an Allowed Class 11 Newbuild Tanker Credit Facility Claim shall receive, in
 full and final satisfaction, settlement, release, and discharge of, and in exchange for,
 such claims, the treatment provided for in the Newbuild Tanker Purchase Agreement.




                                             30
17-10184-scc    Doc 281     Filed 08/15/17 Entered 08/15/17 18:56:19          Main Document
                                         Pg 38 of 60


                              (iii) for the avoidance of doubt, all Trade and Transport
 guarantees relating to the Newbuild Tanker Credit Facility shall be fully released as of
 the later of the Effective Date and the closing of the Newbuild Tanker Sale Transaction.

                            (iv) Voting: Claims in Class 11 are Impaired. Pursuant to
 section 1126 of the Bankruptcy Code, each Holder of an Allowed Class 11 Newbuild
 Tanker Credit Facility Claim is entitled to vote to accept or reject this Plan.

                      (l)    Class 12 – Existing DVB Credit Facility Claims

                             (i)    Claims In Class: Class 12 consists of all DVB Credit
 Facility Claims.

                               (ii)    Treatment: On, or as soon as reasonably practicable
 after, the Effective Date, each Holder of an Allowed Class 12 DVB Credit Facility Claims
 shall receive, in full and final satisfaction, settlement, release, and discharge of, and in
 exchange for such Claims its pro rata share of the loans under the Amended and
 Restated DVB Credit Facility. Under the Amended and Restated DVB Credit Facility
 the balances and interest rates under the Amended and Restated DVB Credit Facility
 will remain unchanged from those in effect under the Existing DVB Credit Facility;
 however, the maturity shall be extended to five (5) years from the Effective Date and
 interest shall be paid in Cash at the Cash Rate (as defined in section 3.3(n) below) with
 the remaining interest paid as PIK Interest in an amount equal to the interest rate under
 the Existing DVB Credit Facility minus the Cash Rate. Any earnings from DVB Credit
 Facility Vessels in excess of the Cash Rate shall be pooled to pay interest deficiencies, if
 any, relating to the Amended and Restated Offshore Facilities. 50% of any excess cash
 flow after payment of interest deficiencies shall be swept on a quarterly basis to repay
 principal on the Amended and Restated DVB Credit Facility subject to a consolidated
 cash balance at Reorganized Toisa in excess of the Offshore Minimum Working Capital
 amount. Such cash flow sweep shall replace the prepetition amortization schedule.

                              (iii) Voting: Claims in Class 12 are Impaired. Pursuant to
 section 1126 of the Bankruptcy Code, each Holder of an Allowed Class 12 DVB Credit
 Facility Claim is entitled to vote to accept or reject this Plan.

                      (m)    Class 13 – Existing Citizens I Credit Facility Secured Claim

                              (i)   Claims In Class: Class 13 consists of all Existing
 Citizens I Credit Facility Secured Claims.

                              (ii)   Treatment: On, or as soon as reasonably practicable
 after, the Effective Date, each Holder of an Allowed Class 13 Existing Citizens I Credit
 Facility Secured Claims shall receive, in full and final satisfaction, settlement, release,
 and discharge of, and in exchange for such Claims, its pro rata share of the loans under
 the Amended and Restated Citizens I Credit Facility, in addition to any terms of
 treatment that the Court orders. Under the Amended and Restated Offshore Credit
 Facilities the balances and interest rates under the Amended and Restated Offshore
 Credit Facilities will remain unchanged from those in effect under the Existing Offshore
 Credit Facilities; however, the maturity shall be extended to five (5) years from the


                                              31
17-10184-scc    Doc 281     Filed 08/15/17 Entered 08/15/17 18:56:19        Main Document
                                         Pg 39 of 60


 Effective Date and interest shall be paid in Cash at the Cash Rate (as defined in section
 3.3(n) below) with the remaining interest paid as PIK Interest in an amount equal to the
 interest rate under the applicable Existing Offshore Credit Facility minus the Cash Rate.
 Any earnings from Citizens I Credit Facility Vessels in excess of the Cash Rate shall be
 pooled to pay interest deficiencies, if any, relating to the Amended and Restated
 Offshore Facilities. 50% of any excess cash flow after payment of interest deficiencies
 shall be swept on a quarterly basis to repay principal on the Amended and Restated
 Citizens I Credit Facility subject to a consolidated cash balance at Reorganized Toisa in
 excess of the Offshore Minimum Working Capital amount. Such cash flow sweep shall
 replace the prepetition amortization schedule.

                              (iii) Voting: Claims in Class 13 are Impaired. Pursuant to
 section 1126 of the Bankruptcy Code, each Holder of an Allowed Class 13 Existing
 Citizens I Credit Facility Secured Claim is entitled to vote to accept or reject this Plan.

                      (n)    Class 14 – Toisa Offshore Secured Claims

                             (i)    Claims In Class: Class 14 consists of all Existing BNP
 Credit Facility Claims, Existing Citi Offshore Facility Claims, Existing Citizens II Credit
 Facility Claims, Existing Commonwealth Bank of Australia Credit Facility Claims,
 Existing Credit Agricole Offshore Credit Facility Claims, Existing Danish Ship Offshore
 Credit Facility Claims, Existing DNB Offshore Credit Facility Claims, Existing ING
 Offshore Credit Facility Claims, and Existing Wells Fargo Credit Facility Claims.

                              (ii)   Treatment: On, or as soon as reasonably practicable
 after, the Effective Date, each Holder of an Allowed Class 14 Toisa Offshore Secured
 Claim shall receive, in full and final satisfaction, settlement, release, and discharge of,
 and in exchange for such Claims its pro rata share of the loans under such Holder’s
 applicable Amended and Restated Offshore Credit Facility. Under the Amended and
 Restated Offshore Credit Facilities, the balances and interest rates under the Amended
 and Restated Offshore Credit Facilities will remain unchanged from those in effect
 under the Existing Offshore Credit Facilities; however, the maturity shall be extended
 to five (5) years from the Effective Date and interest shall be paid in Cash at the rate of
 Libor+25bps (the “Cash Rate”) with the remaining interest paid as PIK Interest in an
 amount equal to the interest rate under the applicable Existing Offshore Credit Facility
 minus the Cash Rate. Any earnings from Offshore Credit Facility Vessels in excess of
 the Cash Rate interest payable under the corresponding Offshore Credit Facility shall be
 pooled to pay interest deficiencies, if any, relating to the Amended and Restated
 Offshore Facilities. 50% of any excess cash flow from Offshore Credit Facility Vessels
 after payment of pooled interest deficiencies shall be swept on a quarterly basis to repay
 principal on the corresponding Amended and Restated Offshore Credit Facility subject
 to a consolidated cash balance at Reorganized Toisa in excess of the Offshore Minimum
 Working Capital amount. Such cash flow sweeps shall replace the prepetition
 amortization schedule.

                            (iii) Voting: Claims in Class 14 are Impaired. Pursuant to
 section 1126 of the Bankruptcy Code, each Holder of an Allowed Class 14 Toisa
 Offshore Secured Claim is entitled to vote to accept or reject this Plan.



                                             32
17-10184-scc    Doc 281     Filed 08/15/17 Entered 08/15/17 18:56:19           Main Document
                                         Pg 40 of 60


                      (o)    Class 15 – G550 Airplane Credit Facility Claims

                             (i)  Claims In Class: Class 15 consists of all Existing G550
 Airplane Credit Facility Claims.

                              (ii)   Treatment: On, or as soon as reasonably practicable
 after, the Effective Date, the G550 Airplane Credit Facility shall be reinstated in full
 upon its current terms without any modifications.

                               (iii) Voting: Claims in Class 15 are Unimpaired, and the
 Holders of Allowed Class 15 G550 Airplane Credit Facility Claims are conclusively
 deemed to have accepted this Plan pursuant to section 1126(f) of the Bankruptcy Code.
 Therefore, the Holders of Class 15 G550 Airplane Credit Facility Claims are not entitled
 to vote to accept or reject this Plan.

                      (p)    Class 16 – T&T General Unsecured Claims

                         (i)     Claims In Class: Class 16 consists of all General
 Unsecured Claims that may exist against the Debtor T&T (“T&T General Unsecured
 Claims”).

                              (ii)   Treatment: Within ninety (90) days after the Effective
 Date or, if such T&T General Unsecured Claim becomes Allowed after the Effective
 Date, as soon as reasonably practicable after the date at which such General Unsecured
 Claim becomes Allowed, each Holder of an Allowed Class 16 T&T General Unsecured
 Claim shall receive, in full and final satisfaction, settlement, release, and discharge of,
 and in exchange for, such Claim, payment in Cash of the full amount of such Allowed
 T&T General Unsecured Claims.

                               (iii) Voting: Claims in Class 16 are Unimpaired, and the
 Holders of Allowed Class 16 T&T General Unsecured Claims are conclusively deemed
 to have accepted this Plan pursuant to section 1126(f) of the Bankruptcy Code.
 Therefore, the Holders of Class 16 T&T General Unsecured Claims are not entitled to
 vote to accept or reject this Plan.

                      (q)    Class 17 – Toisa General Unsecured Claims

                         (i)     Claims In Class: Class 17 consists of all General
 Unsecured Claims that may exist against the Debtor Toisa (“Toisa General Unsecured
 Claims”).

                              (ii)   Treatment: Within ninety (90) days after the Effective
 Date or, if such Toisa General Unsecured Claim becomes Allowed after the Effective
 Date, as soon as reasonably practicable after the date at which such General Unsecured
 Claim becomes Allowed, each Holder of an Allowed Class 17 Toisa General Unsecured
 Claim shall receive, in full and final satisfaction, settlement, release, and discharge of,
 and in exchange for, such Claim, payment in Cash of the full amount of such Allowed
 Toisa General Unsecured Claims.




                                              33
17-10184-scc     Doc 281      Filed 08/15/17 Entered 08/15/17 18:56:19          Main Document
                                           Pg 41 of 60


                               (iii) Voting: Claims in Class 17 are Unimpaired, and the
 Holders of Allowed Class 17 Toisa General Unsecured Claims are conclusively deemed
 to have accepted this Plan pursuant to section 1126(f) of the Bankruptcy Code.
 Therefore, the Holders of Class 17 Toisa General Unsecured Claims are not entitled to
 vote to accept or reject this Plan

                        (r)    Class 18 – Intercompany Claims

                               (i)    Claims In Class: Class 18 consists of all Intercompany
 Claims.

                          (ii)    Treatment: On or prior to the Effective Date, all Class
 18 Intercompany Claims shall be reinstated.

                            (iii) Voting: Claims in Class 18 are Unimpaired and the
 Holders Class 18 Intercompany Claims are conclusively deemed to have accepted this
 Plan pursuant to section 1126(f) of the Bankruptcy Code. Therefore, the Holders of
 Class 18 Intercompany Claims are not entitled to vote to accept or reject this Plan.

                        (s)    Class 19 – Interests in Toisa

                               (i)    Interests in Class: Class 19 consists of all Interests in
 Toisa.

                               (ii)   Treatment: On the Effective Date, all Class 19 Interests
 shall be reinstated.

                               (iii) Voting: Interests in Class 19 are Unimpaired, and the
 Holders of Class 19 Interests are conclusively deemed to have accepted this Plan
 pursuant to section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 19
 Interests are not entitled to vote to accept or reject this Plan.

                        (t)    Class 20 – Intercompany Interests in Other Debtors

                            (i)   Interests in Class: Class 20 consists of all
 Intercompany Interests in each Debtor except Toisa.

                            (ii)  Treatment: Except as otherwise provided herein or in
 the Oceangoing Equity Purchase Agreement, on or prior to the Effective Date, all Class
 20 Intercompany Interests in Other Debtors shall be Reinstated.

                             (iii) Voting: Interests in Class 20 are Unimpaired, and the
 Holders of Class 20 Intercompany Interests are conclusively deemed to have accepted
 this Plan pursuant to section 1126(f) of the Bankruptcy Code. Therefore, the Holders of
 Class 20 Intercompany Interests are not entitled to vote to accept or reject this Plan.

              3.4     Enforcement of Subordination Agreements. Notwithstanding any
 provision herein to the contrary, in accordance with section 510 of the Bankruptcy Code,
 subordination agreements or arrangements to which any Debtor is a party, are



                                                34
17-10184-scc     Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19          Main Document
                                         Pg 42 of 60


 enforceable, and nothing in the Plan shall affect or otherwise alter any such
 subordination agreement.

               3.5   Alternative Treatment. Notwithstanding any provision herein to
 the contrary, any Holder of an Allowed Claim may receive, instead of the distribution
 or treatment to which it is entitled hereunder, any other distribution or treatment to
 which it and the Debtors may agree in writing; provided, however, that under no
 circumstance may the Debtor agree to provide any other distribution or treatment to
 any Holder of an Allowed Claim that would adversely impair the distribution or
 treatment provided to any other Holder of an Allowed Claim.

                3.6    Special Provision Regarding Unimpaired Claims. Except as
 otherwise provided in this Plan, nothing shall affect the Debtors' rights and defenses,
 both legal and equitable, with respect to any Unimpaired Claims, including but not
 limited to all rights with respect to legal and equitable defenses to setoffs against or
 recoupments of Unimpaired Claims.

                                         ARTICLE IV

                     ACCEPTANCE OR REJECTION OF THIS PLAN

                 4.1    Acceptance By Class Entitled To Vote. Classes 2, 3, 4, 5, 6, 7, 8, 9,
 10, 11, 12, 13, and 14 are the Classes of Claims of the Debtors that are entitled to vote to
 accept or reject this Plan. Classes 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, and 14 shall have
 accepted this Plan if (a) the Holders of at least two-thirds in amount of the Allowed
 Claims actually voting in each Class have voted to accept this Plan and (b) the Holders
 of more than one-half in number of the Allowed Claims actually voting in each Class
 have voted to accept this Plan, not counting the vote of any Holder designated under
 section 1126(e) of the Bankruptcy Code. If there are no votes cast in a particular Class
 that is entitled to vote on the Plan, then the Plan shall be deemed accepted by such
 Class.

               4.2   Presumed Acceptance Of The Plan. Classes 1, 15, 16, 17, 18, 19 and
 20 are Unimpaired. Therefore, such Classes are deemed to have accepted this Plan by
 operation of law and are not entitled to vote to accept or reject the Plan.

               4.3    Elimination Of Classes. To the extent applicable, any Class that
 does not contain any Allowed Claims or any Claims temporarily allowed for voting
 purposes under Bankruptcy Rule 3018, as of the date of the commencement of the
 Confirmation Hearing, shall be deemed to have been deleted from this Plan for
 purposes of (a) voting to accept or reject this Plan and (b) determining whether it has
 accepted or rejected this Plan under section 1129(a)(8) of the Bankruptcy Code.

              4.4     Cramdown. The Debtors request Confirmation of this Plan, as it
 may be modified from time to time, under section 1129(b) of the Bankruptcy Code. The
 Debtors reserve the right to modify this Plan to the extent, if any, that Confirmation
 pursuant to section 1129(b) of the Bankruptcy Code requires modification.




                                               35
17-10184-scc    Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19       Main Document
                                        Pg 43 of 60


                                       ARTICLE V

                  MEANS FOR IMPLEMENTATION OF THIS PLAN

                5.1    Continued Legal Existence. Except as otherwise provided for in
 this Plan, the Oceangoing Equity Purchase Agreement, or the Newbuild Tanker
 Purchase Agreement, each of the Debtors will continue to exist after the Effective Date
 as the Reorganized Debtors – separate legal entities, with all the powers of such an
 entity (whether a company or other entity as appropriate) under applicable law in the
 jurisdiction in which each applicable Debtor is incorporated or otherwise formed and
 pursuant to such Debtor’s certificate or articles of incorporation and by-laws or other
 organizational documents in effect prior to the Effective Date, without prejudice to any
 right to terminate such existence (whether by merger or otherwise) under applicable
 law after the Effective Date.

               5.2     The Oceangoing Equity Sale. The Confirmation Order shall
 authorize the Oceangoing Equity Sale Transaction under sections 363, 365, 1123(b)(4),
 1129(b)(2)(A)(iii), 1145, and 1146(a) of the Bankruptcy Code under the terms and
 conditions of the Oceangoing Equity Purchase Agreement. Upon Confirmation, the
 Debtors shall be authorized to take any and all actions necessary to consummate the
 Oceangoing Equity Sale Transaction.

               5.3     The Newbuild Tanker Sale. The Confirmation Order shall
 authorize the Newbuild Tanker Sale Transaction under sections 363, 365, 1123(b)(4),
 1129(b)(2)(A)(iii), 1145, and 1146(a) of the Bankruptcy Code under the terms and
 conditions of the Newbuild Tanker Purchase Agreement. Upon Confirmation, the
 Debtors shall be authorized to take any and all actions necessary to consummate the
 Newbuild Tanker Sale Transaction.

               5.4   Sources of Cash for Toisa Distributions and Operations. All Cash
 necessary for Reorganized Toisa to make payments required by this Plan and for post
 Confirmation operations shall be obtained from (a) existing Cash at Toisa,
 (b) Oceangoing Equity Sale Proceeds, (c) Newbuild Tanker Sale Proceeds, (d) the Toisa
 Equity Contribution, (e) the Proceeds from any Causes of Action, and (f) the operations
 of Reorganized Toisa.

               5.5    Sources of Cash for Reorganized Oceangoing Debtors Distributions
 and Operations. All cash necessary for the Reorganized Oceangoing Debtors to make
 payments required by this Plan and for post Confirmation operations shall be obtained
 from (a) existing Cash at each of the Reorganized Oceangoing Debtors and Reorganized
 Trade and Transport, (b) the Oceangoing Working Capital Contribution, and (c) the
 operations of the Reorganized Oceangoing Debtors.

               5.6    Approval and Authorization for the Amended and Restated Credit
 Facilities. Confirmation shall be deemed approval of each of the Amended and
 Restated Credit Facilities and authorization for the applicable Reorganized Debtors to
 enter into each of the applicable Amended and Restated Credit Facilities and execute
 such documents as may be required to effectuate the treatment afforded to the
 applicable lenders pursuant to each of the Amended and Restated Credit Facilities.


                                            36
17-10184-scc    Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19        Main Document
                                        Pg 44 of 60


               5.7   New Boards of Reorganized Debtors. The members of the Boards
 of each of the Reorganized Debtors shall be identified in the Plan Supplement.

                5.8   Corporate Action. Each of the matters provided for under this Plan
 involving the corporate structure of any Debtor or any corporate action to be taken by
 or required of any Debtor or Reorganized Debtor shall be deemed to have occurred and
 be effective as provided herein, and shall be authorized, approved and, to the extent
 taken prior to the Effective Date, ratified in all respects without any requirement of
 further action by shareholders, members, creditors, directors, or managers of the
 Debtors.

                5.9    Effectuating Documents; Further Transactions. Each of the
 Debtors and the Reorganized Debtors, and their respective officers and designees, is
 authorized to execute, deliver, file, or record such contracts, instruments, releases,
 indentures, and other agreements or documents, and take such actions as may be
 necessary or appropriate to effectuate and further evidence the terms and conditions of
 this Plan, or to otherwise comply with applicable law.

                 5.10 Preservation Of Retained Actions. In accordance with section
 1123(b)(3) of the Bankruptcy Code, the Reorganized Debtors will retain and may (but
 are not required to) enforce all Retained Actions. After the Effective Date, the
 Reorganized Debtors, in their sole and absolute discretion, shall have the right to bring,
 settle, release, compromise, or enforce such Retained Actions (or decline to do any of
 the foregoing), without further approval of the Bankruptcy Court. The Reorganized
 Debtors or any successors, in the exercise of their sole discretion, may pursue such
 Retained Actions so long as it is in the best interests of the Reorganized Debtors or any
 successors holding such rights of action. The failure of the Debtors to specifically list
 any claim, right of action, suit, proceeding or other Retained Action in this Plan does
 not, and will not be deemed to, constitute a waiver or release by the Debtors or the
 Reorganized Debtors of such claim, right of action, suit, proceeding or other Retained
 Action, and the Reorganized Debtors will retain the right to pursue such claims, rights
 of action, suits, proceedings and other Retained Actions in their sole discretion and,
 therefore, no preclusion doctrine, collateral estoppel, issue preclusion, claim preclusion,
 estoppel (judicial, equitable, or otherwise) or laches will apply to such claim, right of
 action, suit, proceeding, or other Retained Action upon or after the Confirmation or
 consummation of this Plan.

                 5.11 Exemption From Certain Transfer Taxes And Recording Fees. To
 the maximum extent provided by section 1146(a) of the Bankruptcy Code, any post-
 Confirmation sale by any Debtor or any transfer from any Entity pursuant to, in
 contemplation of, or in connection with the Plan or pursuant to: (1) the issuance,
 distribution, transfer, or exchange of any debt, equity security, or other interest in the
 Debtors; or (2) the making, delivery, or recording of any deed or other instrument of
 transfer under, in furtherance of, or in connection with, the Plan, including any deeds,
 bills of sale, assignments, or other instruments of transfer executed in connection with
 any transaction arising out of, contemplated by, or in any way related to the Plan, shall
 not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or
 similar tax, mortgage tax, real estate transfer tax, mortgage recording tax, Uniform
 Commercial Code filing or recording fee, or other similar tax or governmental


                                             37
17-10184-scc    Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19        Main Document
                                        Pg 45 of 60


 assessment, in each case to the extent permitted by applicable bankruptcy law, and the
 appropriate state or local government officials or agents shall forego collection of any
 such tax or governmental assessment and accept for filing and recordation any of the
 foregoing instruments or other documents without the payment of any such tax or
 governmental assessment.

                5.12 Further Authorization. The Debtors and the Reorganized Debtors
 shall be entitled to seek such orders, judgments, injunctions, and rulings as they deem
 necessary to carry out the intentions and purposes, and to give full effect to the
 provisions, of this Plan.

                 5.13 Cancellation Of Existing Securities And Agreements. Except as
 provided in this Plan or in the Confirmation Order, on the Effective Date, all notes,
 stock, instruments, certificates, agreements, side letters, fee letters and other documents
 evidencing or giving rise to Claims and Interests in the Debtors shall be cancelled, and
 the obligations of the Debtors thereunder or in any way related thereto shall be fully
 released, terminated, extinguished and discharged, in each case without further notice
 to or order of the Bankruptcy Court, act or action under applicable law, regulation,
 order, or rule or any requirement of further action, vote, or other approval or
 authorization by any Person. The Holders of or parties to such notes, stock, instruments,
 certificates, agreements, side letters, fee letters, and other documents shall have no
 rights arising from or relating to such notes, stock, instruments, certificates, agreements,
 side letters, fee letters, and other documents or the cancellation thereof, except the
 rights provided pursuant to this Plan and the Confirmation Order.

                                       ARTICLE VI

                    PROVISIONS GOVERNING DISTRIBUTIONS

                6.1   Distribution Record Date. As of the close of business on the
 Distribution Record Date, the various transfer registers for each of the Classes of Claims
 or Interests as maintained by the Debtors or their respective agents, shall be deemed
 closed, and there shall be no further changes in the record of Holders of any of the
 Claims or Interests. The Debtors or the Reorganized Debtors shall have no obligation to
 recognize any transfer of the Claims or Interests occurring on or after the Distribution
 Record Date.

               6.2   Allowed Claims. Notwithstanding any provision herein to the
 contrary, the Debtors or the Reorganized Debtors shall make distributions only to
 Holders of Allowed Claims. A Holder of a Disputed Claim shall receive a distribution
 on account thereof only when and to the extent that such Holder's Disputed Claim
 becomes an Allowed Claim.

               6.3    Distributions For Claims Allowed As Of The Effective Date.
 Except as otherwise provided under this Plan or as ordered by the Bankruptcy Court,
 distributions to be made on account of Claims that are Allowed Claims as of the
 Effective Date shall be made on the Effective Date or as soon thereafter as is practicable.
 Any distribution to be made on the Effective Date pursuant to this Plan shall be deemed
 as having been made on the Effective Date if such distribution is made on the Effective


                                             38
17-10184-scc    Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19       Main Document
                                        Pg 46 of 60


 Date or as soon thereafter as is practicable. Any payment or distribution required to be
 made under this Plan on a day other than a Business Day shall be made on the next
 succeeding Business Day.

                6.4    Interest And Penalties On Claims. Unless otherwise specifically
 provided for in this Plan or the Confirmation Order, or required by applicable
 bankruptcy law, postpetition interest and penalties shall not accrue or be paid on any
 Claim, and no Holder of a Claim shall be entitled to interest and penalties accruing on
 or after the Petition Date through the date such Claim is satisfied in accordance with the
 terms of this Plan

                6.5   Delivery of Distributions. In the event that any distribution to any
 Holder is returned as undeliverable, no distribution to such Holder shall be made
 unless and until the Debtors or the Reorganized Debtors, as applicable, has determined
 the then current address of such holder, at which time such distribution shall be made
 to such holder without interest; provided, however, such distributions shall be deemed
 unclaimed property under section 347(b) of the Bankruptcy Code at the expiration of six
 months from the date the Initial Distribution is made. After such date, all unclaimed
 property or interests in property shall revert (notwithstanding any applicable federal or
 state escheat, abandoned, or unclaimed property laws to the contrary) to the Debtors
 automatically and without need for a further order by the Bankruptcy Court for
 distribution in accordance with the Plan and the Claim of any such holder to such
 property or interest in property shall be released, settled, compromised, and forever
 barred.

              6.6     Manner of Payment Under Plan. At the option of the Debtors or
 the Reorganized Debtors, any Cash payment to be made hereunder may be made by a
 check or wire transfer.

               6.7    Withholding and Reporting Requirements. In connection with this
 Plan and all distributions hereunder, the Reorganized Debtors shall comply with all
 withholding and reporting requirements imposed by any taxing authority, and all
 distributions hereunder shall be subject to any such withholding and reporting
 requirements. The Reorganized Debtors shall be authorized to take any and all actions
 that may be necessary or appropriate to comply with such withholding and reporting
 requirements. Distributions in respect of Allowed Claims shall be allocated first to the
 principal amount of such Claims (as determined for U.S. federal income tax purposes)
 and then, to the extent the consideration exceeds the principal amount of the Claims, to
 any portion of such Claims for accrued but unpaid interest.

               6.8    Setoffs. The Debtors and the Reorganized Debtors may, but shall
 not be required to, set off against any Claim, any Claims of any nature whatsoever that
 the Debtors or the Reorganized Debtors may have against the holder of such Claim;
 provided that neither the failure to do so nor the allowance of any Claim hereunder
 shall constitute a waiver or release by the Debtors or the Reorganized Debtors of any
 such Claim the Debtors or the Reorganized Debtors may have against the holder of
 such Claim.




                                             39
17-10184-scc    Doc 281     Filed 08/15/17 Entered 08/15/17 18:56:19        Main Document
                                         Pg 47 of 60


                6.9     Payment of Disputed Claims. As Disputed Claims are resolved
 pursuant to Section 7 hereof, the Reorganized Debtors shall make distributions on
 account of such Disputed Claims as if such Disputed Claims were Allowed Claims as of
 the Effective Date. Such distributions shall be made on the first Distribution Date that is
 at least forty-five (45) days after the date on which a Disputed Claim becomes an
 Allowed Claim, or on an earlier date selected by the Reorganized Debtors in the
 Reorganized Debtors’s sole discretion.

                                       ARTICLE VII

                        PROCEDURES FOR DISPUTED CLAIMS

                7.1   Allowance of Claims. After the Effective Date, the Debtors or the
 Reorganized Debtors shall have and shall retain any and all rights and defenses that the
 Debtors had with respect to any Claims, except with respect to any Claim deemed
 Allowed under this Plan. Except as expressly provided in this Plan or in any order
 entered in these Chapter 11 Cases prior to the Effective Date (including, without
 limitation, the Confirmation Order), no Claim shall become an Allowed Claim unless
 and until such Claim is deemed Allowed under this Plan or the Bankruptcy Court has
 entered a Final Order, including, without limitation, the Confirmation Order, in these
 Chapter 11 Cases allowing such Claim.

                7.2    Objections to Claims. As of the Effective Date, objections to, and
 requests for estimation of, Claims against the Debtors may be interposed and
 prosecuted only by the Reorganized Debtors. Such objections and requests for
 estimation shall be served and filed (a) on or before the 60th day following the later of (i)
 the Effective Date and (ii) the date that a proof of Claim is filed or amended or a Claim
 is otherwise asserted or amended in writing by or on behalf of a holder of such Claim,
 or (b) such later date as ordered by the Bankruptcy Court upon motion filed by the
 Reorganized Debtors.

                7.3    Estimation of Claims. The Reorganized Debtors may at any time
 request that the Bankruptcy Court estimate any contingent, unliquidated, or Disputed
 Claim pursuant to section 502(c) of the Bankruptcy Code, regardless of whether the
 Debtors or Reorganized Debtors previously objected to such Claim or whether the
 Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court will
 retain jurisdiction to estimate any Claim at any time during litigation concerning any
 objection to any Claim, including, without limitation, during the pendency of any
 appeal relating to any such objection. In the event that the Bankruptcy Court estimates
 any contingent, unliquidated, or Disputed Claim, the amount so estimated shall
 constitute either the Allowed amount of such Claim or a maximum limitation on such
 Claim, as determined by the Bankruptcy Court. If the estimated amount constitutes a
 maximum limitation on the amount of such Claim, the Debtors or Reorganized Debtors,
 as applicable, may pursue supplementary proceedings to object to the allowance of
 such Claim. All of the aforementioned objection, estimation and resolution procedures
 are intended to be cumulative and not exclusive of one another. Claims may be
 estimated and subsequently compromised, settled, withdrawn, or resolved by any
 mechanism approved by the Bankruptcy Court.



                                              40
17-10184-scc    Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19       Main Document
                                        Pg 48 of 60


                7.4   Establishment of Reserve Account. The Reorganized Debtors shall
 reserve an amount sufficient to pay holders of Disputed Claims the amount such
 holders would be entitled to receive under the Plan if such Claims were to become
 Allowed Claims (the “Claims Reserve Account”). In the event the holders of Allowed
 Claims have not received payment in full on account of their Claims after the resolution
 of all Disputed Claims, then the Reorganized Debtors shall make a final distribution to
 all holders of Allowed Claims or if all Allowed Claims have been paid in full, the
 balance of the Claims Reserve Account shall be returned to Reorganized Toisa.
 Notwithstanding anything to the contrary in the Plan, no holder of an Allowed Claim
 shall, on account of such Allowed Claim, receive a distribution in excess of the Allowed
 amount of such Claim plus any interest accruing on such Claim that is actually payable
 in accordance with the Plan.

                 7.5    No Distributions Pending Allowance. If an objection to a Claim is
 filed as set forth in Section 7, no payment or distribution provided under the Plan shall
 be made on account of such Claim unless and until such Disputed Claim becomes an
 Allowed Claim.

                7.6   Resolution of Claims. Except as otherwise provided herein, or in
 any contract, instrument, release, indenture, or other agreement or document entered
 into in connection with this Plan, in accordance with section 1123(b) of the Bankruptcy
 Code, the Reorganized Debtors shall retain and may enforce, sue on, settle, or
 compromise (or decline to do any of the foregoing) all Claims, Disputed Claims, rights,
 Causes of Action, suits and proceedings, whether in law or in equity, whether known or
 unknown, that the Debtors or their estates may hold against any Person, without the
 approval of the Bankruptcy Court, the Confirmation Order, and any contract,
 instrument, release, indenture, or other agreement entered into in connection herewith.
 The Reorganized Debtors or their successors may pursue such retained Claims, rights,
 Causes of Action, suits or proceedings, as appropriate, in accordance with the best
 interests of the Debtors.

                7.7    Disallowed Claims. All Claims held by persons or entities against
 whom or which any of the Debtors or the Reorganized Debtors has commenced a
 proceeding asserting a Cause of Action under sections 542, 543, 544, 545, 547, 548, 549
 and/or 550 of the Bankruptcy Code shall be deemed “disallowed” Claims pursuant to
 section 502(d) of the Bankruptcy Code and holders of such Claims shall not be entitled
 to vote to accept or reject the Plan. Claims that are deemed disallowed pursuant to this
 section shall continue to be disallowed for all purposes until the Avoidance Action
 against such party has been settled or resolved by Final Order and any sums due to the
 Debtors or the Reorganized Debtors from such party have been paid.

                                      ARTICLE VIII

                     TREATMENT OF EXECUTORY CONTRACTS
                           AND UNEXPIRED LEASES

              8.1   Rejection Of Executory Contracts And Unexpired Leases. Except as
 otherwise provided in the Plan the Oceangoing Equity Purchase Agreement, or the
 Newbuild Tanker Purchase Agreement, on the Effective Date, all Executory Contracts


                                             41
17-10184-scc    Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19      Main Document
                                        Pg 49 of 60


 and Unexpired Leases of the Debtors shall be deemed rejected in accordance with the
 provisions and requirements of sections 365 and 1123 of the Bankruptcy Code, unless
 such Executory Contract or Unexpired Lease (a) has previously been assumed by order
 of the Bankruptcy Court in effect as of the Effective Date (which order may be the
 Confirmation Order); (b) is the subject of a motion to assume filed on or before the
 Effective Date; (c) is identified as an Executory Contract or Unexpired Lease to be
 assumed pursuant to the Plan Supplement before the Effective Date; or (d) expired or
 terminated pursuant to its own terms.

               8.2   Assumption of Existing Management Executory Contracts. Unless
 otherwise provide in the Plan, the Newbuild Tanker Purchase Agreement, or the
 Oceangoing Equity Purchase Agreement, upon the Effective Date, the Debtors shall be
 deemed to have assumed the Existing Management Agreements with the Management
 Companies. Cure amounts will be set at $0 for all Existing Management Agreements.
 Entry of the Confirmation Order shall constitute the Bankruptcy Court's approval of the
 Debtors' foregoing assumption of each of the Existing Management Agreements.

               8.3    D&O Liability Insurance Policies. As of the Effective Date, the
 D&O Liability Insurance Policies shall be treated as if they were Executory Contracts
 that are assumed under this Plan. Entry of the Confirmation Order shall constitute the
 Bankruptcy Court's approval of the Debtors' foregoing assumption of each of the D&O
 Liability Insurance Policies. Notwithstanding anything to the contrary contained in the
 Plan, Confirmation of the Plan shall not discharge, impair or otherwise modify any
 indemnity obligations assumed by the foregoing assumption of the D&O Liability
 Insurance Policies, and each such indemnity obligation shall be deemed and treated as
 an Executory Contract that has been assumed by the Debtors under the Plan as to which
 no Proof of Claim need be filed.

                 8.4   Indemnification. Except as otherwise specifically limited in this
 Plan, any obligations or rights of the Debtors to defend, indemnify, reimburse, or limit
 the liability of the Debtors' present and former directors, officers, employees, agents,
 representatives, attorneys, accountants, financial advisors, restructuring advisors,
 investment bankers and consultants (the "Covered Persons") pursuant to the Debtors’
 certificates of incorporation, by-laws, policy of providing employee indemnification,
 applicable law, or specific agreement in respect of any claims, demands, suits, Causes of
 Action, or proceedings against such Covered Persons based upon any act or omission
 related to such Covered Persons' service with, for, or on behalf of the Debtors prior to
 the Effective Date, shall be treated as if they were Executory Contracts that are assumed
 under this Plan and shall survive the Effective Date and remain unaffected thereby, and
 shall not be discharged, irrespective of whether such defense, indemnification,
 reimbursement, or limitation of liability is owed in connection with an occurrence
 before or after the Petition Date.

                8.5   Cure of Defaults Under Assumed Contracts. The Reorganized
 Debtors shall cure any monetary defaults under any Executory Contract and Unexpired
 Lease to be assumed pursuant to the Plan by paying to the non-Debtor counterparty the
 full amount of any monetary default in the ordinary course of business. Accordingly,
 no party to an Assumed Contract need file any cure claim, and the Debtors need not file
 any lists of any proposed cure claims, with the Bankruptcy Court. Notwithstanding the


                                            42
17-10184-scc    Doc 281     Filed 08/15/17 Entered 08/15/17 18:56:19        Main Document
                                         Pg 50 of 60


 foregoing, the Reorganized Debtors and counter-parties to Assumed Contracts reserve
 all their rights in the event of a dispute over the amount of a cure claim. If there is any
 such dispute that cannot be resolved consensually, then either party must file with the
 Bankruptcy Court a request for allowance and payment of such cure claim within
 seventy-five (75) days from the Effective Date. Moreover, the Reorganized Debtors
 shall be authorized to reject any Executory Contract or Unexpired Lease to the extent
 the Reorganized Debtors, in the exercise of their sound business judgment, conclude
 that the amount of the cure claim as determined by the Bankruptcy Court, renders
 assumption of such Executory Contract or Unexpired Lease unfavorable to the
 Reorganized Debtors.

                                        ARTICLE IX

               CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

                9.1   Conditions Precedent to the Effective Date. The Debtors shall
 request that the Confirmation Order include a finding by the Bankruptcy Court that,
 notwithstanding Bankruptcy Rule 3020(e), the Confirmation Order shall take effect
 immediately upon its entry. The following are conditions precedent to the occurrence
 of the Effective Date, each of which must be satisfied or waived by the Debtors in
 accordance with the terms hereof:

                     (a)    the Bankruptcy Court shall have entered the Confirmation
 Order, which, in form and substance, shall be acceptable to the Oceangoing Equity
 Purchaser and the Newbuild Tanker Purchaser, each in their sole discretion, and the
 Confirmation Order shall have become a Final Order and shall, among other things,
 provide that the Debtors and the Reorganized Debtors are authorized to take all actions
 necessary or appropriate to enter into, implement, and consummate the agreements and
 documents created in connection with this Plan.

                        (b)   all documents related to, provided for therein, or
 contemplated by the Amended and Restated Credit Facilities shall have been executed
 and delivered, and all conditions precedent thereto shall have been satisfied (other than
 the occurrence of the Effective Date), which shall occur simultaneously with the
 satisfaction of all conditions precedent under the Amended and Restated Credit
 Facilities).

                   (c)    all conditions precedent to the effectiveness of the
 Oceangoing Equity Purchase Agreement have occurred or been waived and the
 Oceangoing Equity Sale Transaction has been consummated.

                     (d)    all conditions precedent to the effectiveness of the Newbuild
 Tanker Purchase Agreement have occurred or been waived and the Newbuild Tanker
 Sale Transaction has been consummated.

                      (e)   the Professional Fee Escrow Account shall have been funded
 and all amounts authorized as of the Effective Date to be paid to Professionals pursuant
 to orders of the Bankruptcy Court shall have been paid;



                                              43
17-10184-scc    Doc 281     Filed 08/15/17 Entered 08/15/17 18:56:19       Main Document
                                         Pg 51 of 60


                      (f)    the Claims Reserve Account shall have been funded;

                      (g)    the Prepetition Cash Reconciliation shall have been
 completed;

                     (h)     all governmental and third party approvals and consents,
 including Bankruptcy Court approval, necessary in connection with the transactions
 contemplated by the Plan, the Oceangoing Equity Sale Transaction, and the Newbuild
 Tanker Sale Transaction shall have been obtained, not be subject to unfulfilled
 conditions and be in full force and effect, and all applicable waiting periods shall have
 expired without any action being taken or threatened by any competent authority that
 would restrain, prevent or otherwise impose materially adverse conditions on such
 transactions; and

                       (i)    all documents and agreements necessary to implement the
 Plan and the consummation of both the Oceangoing Equity Sale Transaction and the
 Newbuild Tanker Sale Transaction shall have (a) been tendered for delivery and
 (b) been effected or executed by all Entities party thereto, and all conditions precedent
 to the effectiveness of such documents and agreements shall have been satisfied or
 waived pursuant to the terms of such documents or agreements.

                9.2    Waiver of Conditions Precedent. Each of the conditions precedent
 in Section 9.1 other than the condition set forth in section 9.1(a) may be waived in
 writing by the Debtors and, if applicable, the Oceangoing Equity Purchaser and the
 Newbuild Tanker Purchaser. Without limitation, the Oceangoing Equity Purchaser and
 the Newbuild Tanker Purchaser, in its sole discretion, shall have the right to consent to
 any waiver under subsection (c), (d), (h), or (i) above.

                9.3    Effect of Failure of Conditions to Effective Date. Unless otherwise
 extended by the Debtors, if the Effective Date does not occur or if the Confirmation
 Order is vacated, (i) no distributions under the Plan shall be made, (ii) the Debtors and
 all holders of Claims and Interests shall be restored to the status quo ante as of the day
 immediately preceding the Confirmation Date as though the Confirmation Date never
 occurred, and (iii) all the Debtors’ obligations with respect to the Claims and the
 Interests shall remain unchanged and nothing contained herein shall be deemed to
 constitute a waiver or release of any Claims by or against the Debtors or any other
 entity or to prejudice in any manner the rights of the Debtors or any other entity in any
 further proceedings involving the Debtors or otherwise.

                                        ARTICLE X

                            EFFECT OF PLAN CONFIRMATION

               10.1 Binding Effect. Following the Effective Date, this Plan shall be
 binding upon and inure to the benefit of the Debtors, their Estates, all present and
 former Holders of Claims and Interests whether or not such Holders voted in favor of
 the Plan, and their respective successors and assigns.




                                             44
17-10184-scc    Doc 281     Filed 08/15/17 Entered 08/15/17 18:56:19     Main Document
                                         Pg 52 of 60


               10.2 Revesting Of Assets. Except as otherwise explicitly provided in this
 Plan, on the Effective Date, all property comprising the Estates (including Retained
 Actions, but excluding property that has been abandoned pursuant to an order of the
 Bankruptcy Court) shall revest in the Reorganized Debtors, free and clear of all Claims,
 Liens, charges, encumbrances, rights and Interests of creditors and equity security
 holders. As of the Effective Date, the Reorganized Debtors may operate their businesses
 and use, acquire, and dispose of their property without supervision of the Bankruptcy
 Court, and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules, other
 than those restrictions expressly imposed by this Plan or the Confirmation Order.

                10.3 Compromise And Settlement Of Claims, Interests And
 Controversies. Pursuant to section 363 of the Bankruptcy Code and Bankruptcy Rule
 9019 and in consideration for the distributions and other benefits provided pursuant to
 the Plan, the provisions of the Plan shall constitute a good faith compromise of all
 Claims, Interests and controversies relating to the contractual, legal and subordination
 rights that a Holder of a Claim or Interest may have with respect to any Allowed Claim
 or Interest, or any distribution to be made on account of such Allowed Claim or Interest.
 The entry of the Confirmation Order shall constitute the Bankruptcy Court's approval
 of the compromise or settlement of all such Claims, Interests and controversies, as well
 as a finding by the Bankruptcy Court that such compromise or settlement is in the best
 interests of the Debtors, their Estates and Holders of Claims and Interests and is fair,
 equitable and reasonable. In accordance with the provisions of the Plan, pursuant to
 section 363 of the Bankruptcy Code and Bankruptcy Rule 9019(a), without any further
 notice to or action, order or approval of the Bankruptcy Court, after the Effective Date,
 the Reorganized Debtors may compromise and settle Claims against or Interests in
 them and Causes of Action against other Persons.

               10.4   Releases And Related Matters

                      (a)    Releases by the Debtors
                Pursuant to section 1123(b) of the Bankruptcy Code and to the extent
 allowed by applicable law, and except as otherwise specifically provided in the Plan
 or the Plan Supplement, for good and valuable consideration, including the service
 of the Released Parties to facilitate the expeditious reorganization of the Debtors and
 the implementation of the restructuring contemplated by the Plan, on and after the
 Effective Date, the Released Parties are deemed released and discharged by the
 Debtors, the Reorganized Debtors, and the Estates from any and all Claims, Interests,
 obligations, rights, suits, damages, Causes of Action, remedies and liabilities
 whatsoever, including any derivative claims asserted or assertable on behalf of the
 Debtors, whether known or unknown, foreseen or unforeseen, existing or hereinafter
 arising, in law, equity or otherwise, that the Debtors, the Reorganized Debtors, or the
 Estates have asserted or would have been legally entitled to assert in their own right
 (whether individually or collectively) or on behalf of the Holder of any Claim or
 Interest or other Person, based on or relating to, or in any manner arising from, in
 whole or in part, the Debtors, the Debtors' restructuring, the Chapter 11 Cases, the
 purchase, sale or rescission of the purchase or sale of any security of the Debtors, the
 subject matter of, or the transactions or events giving rise to, any Claim or Interest
 that is treated in the Plan, the Plan Supplement, the business or contractual



                                            45
17-10184-scc    Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19       Main Document
                                        Pg 53 of 60


 arrangements between any Debtor, Reorganized Debtor, Estate or non-Debtor
 Affiliate and any Released Party, the restructuring of Claims and Interests before or
 during the Chapter 11 Cases, the negotiation, formulation or preparation of the Plan,
 the Disclosure Statement, the Plan Supplement, or related agreements, instruments
 or other documents, or any other act or omission, transaction, agreement, event or
 other occurrence taking place on or before the Effective Date; provided, however that
 nothing in this Section 10.4(a) shall be construed to release any party or entity from
 gross negligence, intentional fraud, willful misconduct, or criminal conduct, as
 determined by a Final Order of a court of competent jurisdiction.

                     (b)    Third-Party Releases by Holders of Claims or Interests

               Except as otherwise provided in the Plan or the Plan Supplement, as of
 the Effective Date, each Holder of a Claim against or Interest in a Debtor, to the
 fullest extent permissible under applicable law, as such law may be extended or
 interpreted subsequent to the Effective Date, shall be deemed to have conclusively,
 absolutely, unconditionally, irrevocably, and forever released and discharged the
 Debtors, the Reorganized Debtors, the Estates, and the Released Parties from any and
 all Claims, Interests, obligations, rights, suits, damages, Causes of Action, remedies
 and liabilities whatsoever, including any derivative Claims assertable on behalf of a
 Debtor, whether known or unknown, foreseen or unforeseen, existing or hereafter
 arising, in law, equity, or otherwise, that such Person would have been legally
 entitled to assert (whether individually or collectively), based on or relating to, or in
 any manner arising from, in whole or in part, the Debtors, the Debtors' restructuring,
 the Chapter 11 Cases, the purchase, sale, or rescission of the purchase or sale of any
 security of the Debtors, the subject matter of, or the transactions or events giving rise
 to, any Claim or Interest that is treated in the Plan or the Plan Supplement, the
 business or contractual arrangements between any Debtor, Reorganized Debtor,
 Estate or non-Debtor Affiliate and any Released Party, the restructuring of Claims
 and Interests before or during the Chapter 11 Cases, the negotiation, formulation, or
 preparation of the Plan, the Disclosure Statement, the Plan Supplement, or related
 agreements, instruments, or other documents, or any other act or omission,
 transaction, agreement, event or other occurrence including or pertaining to the
 Debtors and taking place on or before the Effective Date, provided, however that
 nothing in this Section 10.4(b) shall be construed to release any party or entity from
 gross negligence, intentional fraud, willful misconduct, or criminal conduct, as
 determined by a Final Order of a court of competent jurisdiction; provided further,
 however, that this Section 10.4(b) shall not release the Debtors, the Reorganized
 Debtors), the Estates, or the Released Parties from any Cause of Action held by a
 governmental entity existing as of the Effective Date based on (i) the Internal
 Revenue Code or other domestic state, city, or municipal tax code, (ii) the
 environmental laws of the United States or any domestic state, city, or municipality,
 (iii) any criminal laws of the United States or any domestic state, city, or municipality,
 (iv) the Securities and Exchange Act of 1934 (as now in effect or hereafter amended),
 the Securities Act, or other securities laws of the United States or any domestic state,
 city or municipality, (v) the Employee Retirement Income Security Act of 1974, as
 amended, or (vi) the laws and regulations of the Bureau of Customs and Border
 Protection of the United States Department of Homeland Security.



                                            46
17-10184-scc    Doc 281     Filed 08/15/17 Entered 08/15/17 18:56:19        Main Document
                                         Pg 54 of 60


               10.5 Discharge. Of the Debtors Except Upon the Effective Date, the
 Debtors, and each of them, shall be deemed discharged and released under section
 1141(d)(1)(A) of the Bankruptcy Code from any and all Claims, including, but not
 limited to, demands and liabilities that arose before the Effective Date, and all debts of
 the kind specified in section 502 of the Bankruptcy Code, whether or not (i) a Proof of
 Claim based upon such debt is filed or deemed filed under section 501 of the
 Bankruptcy Code, (ii) a Claim based upon such debt is Allowed under section 502 of the
 Bankruptcy Code, (iii) a Claim based upon such debt is or has been disallowed by order
 of the Bankruptcy Court, or (iv) the Holder of a Claim based upon such debt accepted
 this Plan.

                      (b)      As of the Effective Date, except as provided in this Plan or
 the Confirmation Order, all Persons shall be precluded from asserting against the
 Debtors or the Reorganized Debtors any other or further Claims, debts, rights, Causes
 of Action, claims for relief, liabilities, or equity interests relating to the Debtors based
 upon any act, omission, transaction, occurrence, or other activity of any nature that
 occurred prior to the Effective Date. In accordance with the foregoing, except as
 provided in this Plan or the Confirmation Order, the Confirmation Order shall be a
 judicial determination of discharge of all such Claims and other debts and liabilities
 against the Debtors, pursuant to sections 524 and 1141 of the Bankruptcy Code, and
 such discharge shall void any judgment obtained against the Debtors at any time, to the
 extent that such judgment relates to a discharged Claim.

               10.6   Injunction

               Except as provided in this Plan or the Confirmation Order, as of the
 Effective Date, all Persons that have held, currently hold, may hold, or allege that
 they hold, a Claim, obligation, suit, judgment, damage, demand, debt, right, Cause of
 Action, or liability that is released or discharged under this Article X are permanently
 enjoined from taking any of the following actions against the Debtors, the
 Reorganized Debtors, the Oceangoing Equity Purchaser, the Newbuild Tanker
 Purchaser, and their respective Affiliates or their property on account of any such
 released or discharged Claim, obligation, suit, judgment, damage, demand, debt,
 right, Cause of Action, or liability: (a) commencing or continuing, in any manner or
 in any place, any action or other proceeding; (b) enforcing, attaching, collecting, or
 recovering in any manner any judgment, award, decree, or order; (c) creating,
 perfecting, or enforcing any Lien or encumbrance; (d) asserting a setoff, right of
 subrogation, or recoupment of any kind against any debt, liability, or obligation due
 to any released Person; or (e) commencing or continuing any action, in each such case
 in any manner, in any place, or against any Person that does not comply with or is
 inconsistent with the provisions of this Plan or the Confirmation Order.

               10.7   Exculpation And Limitation Of Liability

               None of the Released Parties shall have or incur any liability to any
 Entity, for any act or omission in connection with, relating to, or arising out of, the
 Chapter 11 Cases, the Disclosure Statement, the formulation, negotiation, or
 implementation of this Plan, the solicitation of acceptances of this Plan, the pursuit
 of Confirmation of this Plan, the Confirmation of this Plan, the consummation of this


                                              47
17-10184-scc    Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19        Main Document
                                        Pg 55 of 60


 Plan, or the administration of this Plan or the property to be distributed under this
 Plan, or any other prepetition or postpetition act taken or omitted to be taken in
 connection with or in contemplation of the restructuring of the Debtors; provided,
 however, that the foregoing provisions of this exculpation shall have no effect on the
 liability of any Released Party that results from any such act or omission that is
 determined in a Final Order of a court of competent jurisdiction to have constituted
 gross negligence or willful misconduct. Nothing in this Plan shall affect the ability
 of the United States to pursue any non-Debtors to the extent allowed by non-
 bankruptcy law for any liabilities that may be related to any federal tax liabilities
 owed by the Debtors or the Debtors' Estates. Additionally, the United States may
 pursue police and regulatory actions or proceedings with respect to the Released
 Parties in the manner, and by the administrative or judicial tribunals, in which the
 United States could have pursued such actions or proceedings as if this bankruptcy
 had never been commenced.

               10.8 Term Of Bankruptcy Injunction Or Stays. Except as provided
 otherwise in this Plan, from and after the entry of an order closing these chapter 11
 cases, the automatic stay of section 362(a) of the Bankruptcy Code shall terminate.

              10.9 Post-Confirmation Date Retention Of Professionals. Upon the
 Confirmation Date, any requirement that professionals comply with sections 327
 through 331 of the Bankruptcy Code in seeking retention or compensation for services
 rendered after such date will terminate and the Reorganized Debtors will employ and
 pay professionals in the ordinary course of business.

                                       ARTICLE XI

                            RETENTION OF JURISDICTION

                11.1 Retention of Jurisdiction. Pursuant to sections 105(c) and 1142 of
 the Bankruptcy Code and notwithstanding entry of the Confirmation Order and the
 occurrence of the Effective Date, the Bankruptcy Court shall retain jurisdiction (unless
 otherwise indicated) over all matters arising in, arising out of, and/or related to, the
 Chapter 11 Cases and this Plan to the fullest extent permitted by law, including, among
 other things, jurisdiction to:

                      (a)   Resolve any matters related to the assumption, assumption
 and assignment, or rejection of any Executory Contract or Unexpired Lease to which
 any Debtor is a party or with respect to which any Debtor may be liable and to hear,
 determine, and, if necessary, liquidate any Claims arising therefrom;

                      (b)    Decide or resolve any motions, adversary proceedings,
 contested or litigated matters, and any other matters and grant or deny any applications
 involving the Debtors that may be pending on the Effective Date (which jurisdiction
 shall be non-exclusive as to any such non-core matters);

                   (c)    Enter such orders as may be necessary or appropriate to
 implement or consummate the provisions of this Plan, and all contracts (including the
 the Oceangoing Equity Purchase Agreement and the Newbuild Tanker Purchase


                                             48
17-10184-scc    Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19        Main Document
                                        Pg 56 of 60


 Agreement), instruments, releases, and other agreements or documents created in
 connection with this Plan, the Disclosure Statement, or the Confirmation Order;

                       (d)   Resolve any cases, controversies, suits, or disputes that may
 arise in connection with the consummation, interpretation, or enforcement of this Plan
 or any contract, instrument, release, or other agreement or document that is executed or
 created pursuant to this Plan, or any entity's rights arising from or obligations incurred
 in connection with this Plan or such documents;

                       (e)   Modify this Plan before or after the Effective Date pursuant
 to section 1127 of the Bankruptcy Code or modify the Confirmation Order, or any
 contract, instrument, release, or other agreement or document created in connection
 with this Plan or the Confirmation Order, or remedy any defect or omission or reconcile
 any inconsistency in any Bankruptcy Court order, this Plan, the Confirmation Order, or
 any contract, instrument, release, or other agreement or document created in connection
 with this Plan or the Confirmation Order, in such manner as may be necessary or
 appropriate to consummate this Plan;

                       (f)   Hear and determine all applications for compensation and
 reimbursement of expenses of Professionals under this Plan or under sections 330, 331,
 503(b), and 1129(a)(4) of the Bankruptcy Code; provided, however, that from and after the
 Confirmation Date the payment of fees and expenses by the Reorganized Debtors,
 including professional fees, shall be made in the ordinary course of business and shall
 not be subject to the approval of the Bankruptcy Court;

                      (g)   Issue injunctions, enter and implement other orders, or take
 such other actions as may be necessary or appropriate to restrain interference by any
 Entity with consummation, implementation, or enforcement of this Plan or the
 Confirmation Order;

                      (h)  Adjudicate controversies arising out of the administration of
 the Estates or the implementation of this Plan;

                      (i)     Resolve any cases, controversies, suits, or disputes that may
 arise in connection with General Unsecured Claims, including without limitation, the
 Bar Date, related notice, claim objections, allowance, disallowance, estimation and
 distribution;

                     (j)   Hear and determine Retained Actions by or on behalf of the
 Debtors or the Reorganized Debtors;

                      (k)   Enter and implement such orders as are necessary or
 appropriate if the Confirmation Order is for any reason or in any respect modified,
 stayed, reversed, revoked, or vacated, or distributions pursuant to this Plan are
 enjoined or stayed;

                       (l)     Determine any other matters that may arise in connection
 with or relate to this Plan, the Disclosure Statement, the Oceangoing Equity Purchase
 Agreement, the Newbuild Tanker Purchase Agreement, the Confirmation Order, or any



                                             49
17-10184-scc    Doc 281     Filed 08/15/17 Entered 08/15/17 18:56:19        Main Document
                                         Pg 57 of 60


 contract, instrument, release, or other agreement or document created in connection
 with this Plan, the Disclosure Statement, the Oceangoing Equity Purchase Agreement,
 the Newbuild Tanker Purchase Agreement, or the Confirmation Order;

                    (m) Enforce all orders, judgments, injunctions, releases,
 exculpations, indemnifications, and rulings entered in connection with the Chapter 11
 Cases;

                     (n)   Hear and determine such other matters as may be provided
 in the Confirmation Order or as may be authorized under the Bankruptcy Code; and

                      (o)    Enter an order closing the Chapter 11 Cases.

                                       ARTICLE XII

                            MISCELLANEOUS PROVISIONS

                12.1 Payment Of Statutory Fees. All fees payable pursuant to section
 1930 of title 28 of the United States Code shall be paid on the earlier of when due or the
 Effective Date.

               12.2 Amendment Or Modification Of This Plan. Subject to section 1127
 of the Bankruptcy Code and, to the extent applicable, sections 1122, 1123, and 1125 of
 the Bankruptcy Code, the Debtors reserve the right to alter, amend, or modify this Plan
 at any time prior to or after the Confirmation Date but prior to the substantial
 consummation of this Plan. A Holder of a Claim that has accepted this Plan shall be
 deemed to have accepted this Plan, as altered, amended or modified, if the proposed
 alteration, amendment or modification does not materially and adversely change the
 treatment of the Claim of such Holder.

             12.3 Substantial Consummation. On the Effective Date, the Plan shall
 be deemed to be substantially consummated under sections 1101 and 1127(b) of the
 Bankruptcy Code.

                12.4 Severability Of Plan Provisions. If, prior to the Confirmation Date,
 any term or provision of this Plan is determined by the Bankruptcy Court to be invalid,
 void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret
 such term or provision to make it valid or enforceable to the maximum extent
 practicable, consistent with the original purpose of the term or provision held to be
 invalid, void, or unenforceable, and such term or provision shall then be applicable as
 altered or interpreted. Notwithstanding any such holding, alteration, or interpretation,
 the remainder of the terms and provisions of this Plan shall remain in full force and
 effect and shall in no way be affected, impaired, or invalidated by such holding,
 alteration, or interpretation. The Confirmation Order shall constitute a judicial
 determination and shall provide that each term and provision of this Plan, as it may
 have been altered or interpreted in accordance with the foregoing, is valid and
 enforceable pursuant to its terms.




                                             50
17-10184-scc    Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19       Main Document
                                        Pg 58 of 60


                12.5 Successors And Assigns. This Plan shall be binding upon and inure
 to the benefit of the Debtors, and their respective successors and assigns, including,
 without limitation, the Reorganized Debtors. The rights, benefits, and obligations of
 any Entity named or referred to in this Plan shall be binding on, and shall inure to the
 benefit of, any heir, executor, administrator, successor, or assign of such Entity.

                12.6 Revocation, Withdrawal, Or Non-Consummation. The Debtors
 reserve the right to revoke or withdraw this Plan at any time prior to the Confirmation
 Date and to file other plans of reorganization. If the Debtors revoke or withdraw this
 Plan, or if Confirmation or consummation of this Plan does not occur, then (a) this Plan
 shall be null and void in all respects, (b) any settlement or compromise embodied in this
 Plan (including the fixing or limiting to an amount any Claim or Class of Claims),
 assumption of Executory Contracts or Unexpired Leases effected by this Plan, and any
 document or agreement executed pursuant to this Plan shall be deemed null and void,
 and (c) nothing contained in this Plan, and no acts taken in preparation for
 consummation of this Plan, shall (i) constitute or be deemed to constitute a waiver or
 release of any Claims by or against, or any Interests in, the Debtors or any other Person,
 (ii) prejudice in any manner the rights of the Debtors or any Person in any further
 proceedings involving the Debtors, or (iii) constitute an admission of any sort by the
 Debtors or any other Person.

               12.7 Dissolution of Creditors’ Committee. On the Effective Date, the
 Creditors’ Committee shall dissolve, and the members thereof shall be released and
 discharged from all rights and duties arising from, or related to, the Chapter 11 Cases;
 provided, however, that after the Effective Date, the Creditors’ Committee shall exist and
 its professionals shall continue to be retained and shall continue to be entitled to
 reasonable compensation by the Debtors without the need for further application to the
 Bankruptcy Court with respect to (a) all applications filed pursuant to sections 330 and
 331 of the Bankruptcy Code and any related hearings; and (b) pending appeals of the
 Confirmation Order; provided further, however, that the Bankruptcy Court shall retain
 jurisdiction with respect to any disputes over the reasonableness of fees.

                12.8 Governing Law. Except to the extend that the Bankruptcy Code or
 other federal law is applicable, or to the extent an exhibit hereto or a schedule in the
 Plan Supplement provides otherwise, the rights, duties and obligations arising under
 the Plan shall be governed by, and construed and enforced in accordance with, the laws
 of the State of New York, without giving effect to the principles of conflict of law
 thereof.

               12.9 Time. In computing any period of time prescribed or allowed by
 the Plan, unless otherwise set forth herein or determined by the Bankruptcy Court, the
 provisions of Bankruptcy Rule 9006 shall apply.

               12.10 Immediate Binding Effect. Notwithstanding Bankruptcy Rules
 3020(e), 6004(h), or 7062 or otherwise, upon the occurrence of the Effective Date, the
 terms of the Plan and Plan Supplement shall be immediately effective and enforceable
 and deemed binding upon and inure to the benefit of the Debtors, the Oceangoing
 Equity Purchaser, the Newbuild Tanker Purchaser, the holders of Claims and Interests,



                                             51
17-10184-scc    Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19        Main Document
                                        Pg 59 of 60


 the Released Parties, the Exculpated Parties, and each of their respective successors and
 assigns, including, without limitation, the Reorganized Debtors.

              12.11 Entire Agreement. On the Effective Date, the Plan, the Plan
 Supplement, the Oceangoing Equity Purchase Agreement, the Newbuild Tanker
 Purchase Agreement, and the Confirmation Order shall supersede all previous and
 contemporaneous negotiations, promises, covenants, agreements, understandings and
 representations on such subjects, all of which have become merged and integrated into
 the Plan.

               12.12 Notice. All notices, requests, and demands to or upon the
 Reorganized Debtors to be effective shall be in writing and, unless otherwise expressly
 provided herein, shall be deemed to have been duly given or made when actually
 delivered or, in the case of notice by facsimile transmission, when received and
 telephonically confirmed, addressed as follows:

                      TOISA LIMITED
                      Attn: Richard Baldwin
                      c/o Brokerage and Management
                      40 Wall Street
                      New York, NY 10005

                             and

                      TOGUT, SEGAL & SEGAL LLP
                      Albert Togut
                      Frank A. Oswald
                      Brian F. Moore
                      Kyle J. Ortiz
                      One Penn Plaza, Suite 3335
                      New York, New York 10019
                      Facsimile: (212) 967-4258

                      Counsel for Debtors and Debtors in Possession

                12.13 Exhibits. All Exhibits to this Plan are incorporated and are a part of
 this Plan as if set forth in full herein.

               12.14 Filing Of Additional Documents. On or before substantial
 consummation of this Plan, the Debtors shall file such agreements and other documents
 as may be necessary or appropriate to effectuate and further evidence the terms and
 conditions of this Plan.




                                             52
17-10184-scc   Doc 281    Filed 08/15/17 Entered 08/15/17 18:56:19          Main Document
                                       Pg 60 of 60


              12.15 Conflicts. In the event that provisions of the Disclosure Statement
 and provisions of this Plan conflict, the terms of this Plan shall govern.

 Dated: August 15, 2017
        New York, New York

                                    TOISA LIMITED
                                         (for itself and on behalf of each of the other
                                         Debtors)

                                    By:    /s/ Robert Hennebry
                                           Name: Robert Hennebry
                                           Title: Chief Financial Officer




                                            53
